November 07, 2017 | KULAKOWSKI, MICHAEL
KULAKOWSKI vs WESTROCK SERVICES




 ∑∑∑∑∑IN THE UNITED STATES DISTRICT COURT
 ∑∑∑∑FOR THE MIDDLE DISTRICT OF TENNESSEE
 ∑∑∑∑∑∑∑∑∑NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,∑∑∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑Plaintiff,∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)CASE NO.
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)3:16-CV-02510
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 WESTROCK SERVICES, INC.,∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑Defendant.∑∑∑∑∑∑∑∑∑∑)
 _________________________________




 ∑∑∑∑∑∑∑VIDEOTAPED DEPOSITION OF

 ∑∑∑∑∑∑∑MICHAEL DAVID KULAKOWSKI

 ∑∑∑∑∑Taken on Behalf of the Defendant

 ∑∑∑∑∑∑∑∑∑November 7, 2017

 ∑∑∑∑∑∑∑∑Commencing at 9:55 a.m.




 __________________________________________________



 Reported by:∑Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:∑6/30/2018



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∑1∑APPEARANCES:                                                    ∑1∑∑∑∑∑∑∑∑∑∑∑MARKED EXHIBITS
∑2∑For the Plaintiff:                                              ∑∑∑∑∑∑∑∑∑∑∑∑∑(Continued)
∑3∑∑∑∑∑∑HEATHER MOORE COLLINS                                      ∑2
∑∑∑∑∑∑∑Collins & Hunter                                            ∑∑Exhibit∑∑∑∑Description∑∑∑∑∑∑∑∑∑∑∑Page
∑4∑∑∑∑∑∑7000 Executive Center Drive                                ∑3
∑∑∑∑∑∑∑Building 2, Suite 320                                       ∑∑No. 10∑∑Clock On/Off Detail Report∑............201
∑5∑∑∑∑∑∑Brentwood, Tennessee∑37027                                 ∑4∑∑∑∑∑∑Bates WestRock 000169-0192 and
∑∑∑∑∑∑∑(615) 724-1996                                              ∑∑∑∑∑∑∑Calendar January 2015-February 2017
∑6∑∑∑∑∑∑heather@collinshunter.com                                  ∑5
∑7                                                                 ∑∑No. 11∑∑WestRock Services ......................202
∑∑For the Defendant:                                               ∑6∑∑∑∑∑∑Employee Earnings Record
∑8                                                                 ∑∑∑∑∑∑∑Bates WestRock 000087-0168
∑∑∑∑∑∑∑MARY DOHNER SMITH                                           ∑7
                                                                   ∑∑No. 12∑∑Kulakowski/Ferland Medical records .....241
∑9∑∑∑∑∑∑Constangy, Brooks, Smith & Prophete
                                                                   ∑8∑∑∑∑∑∑Bates Kulakowski 000002, 03, 05, 06,
∑∑∑∑∑∑∑1010 SunTrust Plaza
                                                                   ∑∑∑∑∑∑∑07, 10, 15, 16, 20, 22, 28, 33, 34,
10∑∑∑∑∑∑401 Commerce Street
                                                                   ∑9∑∑∑∑∑∑46, 54, 70, 77, 84, 124, 131
∑∑∑∑∑∑∑Nashville, Tennessee∑37219
                                                                   10∑No. 13∑∑Kulakowski/Head Medical records ........250
11∑∑∑∑∑∑(615) 320-5200
                                                                   ∑∑∑∑∑∑∑No Bates
∑∑∑∑∑∑∑mdohner@constangy.com
                                                                   11
12
                                                                   12
13∑Also Present:
                                                                   13
14∑Sophia Gordon, Videographer                                     14
15                                                                 15
16                                                                 16
17                                                                 17
18                                                                 18
19                                                                 19
20                                                                 20
21                                                                 21
22                                                                 22
23                                                                 23
24                                                                 24
25                                                                 25

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∑1∑∑∑∑∑∑∑∑∑∑∑∑I N D E X                                            ∑1∑∑∑∑∑∑∑∑The videotaped deposition of MICHAEL
∑2∑∑∑∑∑∑∑∑∑INDEX OF EXAMINATIONS
                                                                   ∑2∑DAVID KULAKOWSKI was taken on behalf of the
∑3∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Page
∑4∑Examination By Ms. Dohner Smith ...................6            ∑3∑Defendant on November 7, 2017, in the offices of
∑5                                                                 ∑4∑Bone, McAllester & Norton, 131 Saundersville Road,
∑6
∑7∑∑∑∑∑∑∑∑∑∑∑MARKED EXHIBITS                                       ∑5∑Suite 130, Hendersonville, Tennessee, for all
∑8                                                                 ∑6∑purposes under the Federal Rules of Civil Procedure.
∑∑Exhibit∑∑∑∑Description∑∑∑∑∑∑∑∑∑∑∑Page
∑9                                                                 ∑7∑∑∑∑∑∑∑∑The formalities as to notice, caption,
∑∑No. 2∑∑10/3/05 Kulakowski ......................32               ∑8∑certificate, et cetera, are waived.∑All objections,
10∑∑∑∑∑∑Employment Application
                                                                   ∑9∑except as to the form of the questions, are reserved
∑∑∑∑∑∑∑Bates WestRock 000001-0003
11                                                                 10∑to the hearing.
∑∑No. 3∑∑RockTenn Employee Handbook and ..........53               11∑∑∑∑∑∑∑∑It is agreed that Jerri L. Porter,
12∑∑∑∑∑∑Employee Code of Conduct and Ethics
∑∑∑∑∑∑∑acknowledgment forms                                        12∑being a Notary Public and Court Reporter for the
13                                                                 13∑State of Tennessee, may swear the witness, and that
∑∑No. 4∑∑2011 RockTenn Employee Handbook .........64
14                                                                 14∑the reading and signing of the completed deposition
∑∑No. 5∑∑2013 RockTenn Employee Handbook .........66               15∑by the witness are reserved.
15
                                                                   16
∑∑No. 6∑∑Gallatin Fulfillment Services ...........67
16∑∑∑∑∑∑Plant Rules                                                17
∑∑∑∑∑∑∑Bates WestRock 000011 & 000022                              18
17
∑∑No. 7∑∑Attendance Policies∑....................68                19
18∑∑∑∑∑∑Bates WestRock 000012-0015                                 20
19∑No. 8∑∑8/16/16 1:45 p.m. 2133 .................167
∑∑∑∑∑∑∑Investigation transcript                                    21∑∑∑∑∑∑∑∑∑∑∑∑∑* * *
20∑∑∑∑∑∑Bates WestRock 000215-0217                                 22
21∑No. 9∑∑Handwritten notes ......................193
                                                                   23
22
23                                                                 24
24
                                                                   25
25


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∑1∑something like that.∑I mean, I don't think it was               ∑1∑any kind of questions that had to do with human
∑2∑directly about anything.                                        ∑2∑resource.
∑3∑Q∑∑∑∑Okay.∑Do you have any personal knowledge                   ∑3∑Q∑∑∑∑Who told you that?
∑4∑about how many times Terri was actually at the                  ∑4∑A∑∑∑∑Tommy, Larry, any supervisor or management
∑5∑fulfillment center prior to this whole issue with               ∑5∑there was.∑Tommy Whited directly out of his mouth,
∑6∑Tommy popping up?                                               ∑6∑Helen Kendall is human resource, she handles that.
∑7∑A∑∑∑∑All I know is what she's told me, and it's                 ∑7∑Q∑∑∑∑The company has a corporate HR department,
∑8∑hearsay.                                                        ∑8∑correct?
∑9∑Q∑∑∑∑Who has told you?                                          ∑9∑A∑∑∑∑Correct.
10∑A∑∑∑∑Terri Henley told me that she --                           10∑Q∑∑∑∑And that's located outside of the
11∑Q∑∑∑∑What did she tell you?                                     11∑fulfillment center in Gallatin?
12∑A∑∑∑∑She told me the only time she could come to                12∑A∑∑∑∑Talking about Helen Kendall --
13∑fulfillment is to clear it with Tommy Whited and                13∑Q∑∑∑∑I'm not talking about Helen Kendall who is
14∑Susan Hart and that she wasn't allowed to come out              14∑local here in Gallatin.
15∑on the floor just -- unless they kept her right                 15∑A∑∑∑∑Okay.
16∑there.∑And she said that she wasn't ever allowed to             16∑Q∑∑∑∑I'm talking about the corporate HR
17∑come out and try to talk to people like she does at             17∑department that is outside Gallatin, Tennessee.
18∑every other plant she gets to go to.∑She said they              18∑There is a corporate HR department in Norcross,
19∑would not let her.∑That's what she told me.                     19∑Georgia --
20∑Q∑∑∑∑When did she tell you that?                                20∑A∑∑∑∑Okay.
21∑A∑∑∑∑Conversation we had -- date-wise, I can't                  21∑Q∑∑∑∑-- correct?
22∑remember.∑I was coming back from vacation when all              22∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
23∑this started.∑Probably October -- September/October             23∑∑∑∑∑∑∑∑THE WITNESS:∑I didn't know where they
24∑last year maybe, or something like that.∑She called             24∑were stationed at Norcross, that's corporate, so I
25∑me.∑I was coming back from vacation.                            25∑just figured they had one there.∑I'm sorry.∑It's
                                                         Page 51                                                            Page 53
∑1∑Q∑∑∑∑Do you have any personal knowledge, though,                ∑1∑so...
∑2∑of how often, prior to 2016, Terri Henley was                   ∑2∑BY MS. DOHNER SMITH:
∑3∑physically at the fulfillment center?                           ∑3∑Q∑∑∑∑So there's corporate HR people outside of
∑4∑A∑∑∑∑Me personally, couldn't be more than two.                  ∑4∑Gallatin, Tennessee?
∑5∑Q∑∑∑∑Okay.∑Do you have any personal knowledge --                ∑5∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑6∑A∑∑∑∑No.                                                        ∑6∑BY MS. DOHNER SMITH:
∑7∑Q∑∑∑∑-- of when she walked in that building and                 ∑7∑Q∑∑∑∑As far as you know?
∑8∑was there?                                                      ∑8∑A∑∑∑∑Yes, ma'am, as far as I know.
∑9∑A∑∑∑∑No.                                                        ∑9∑Q∑∑∑∑Okay.∑Throughout your employment with the
10∑Q∑∑∑∑Okay.∑Who is Helen Kendall?                                10∑company, you've received copies of the employee
11∑A∑∑∑∑Ithought Helen Kendall was our human                       11∑handbook, correct?
12∑resource the whole time I've been there.∑She was                12∑A∑∑∑∑Apparently.
13∑the one that finally got me hired.                              13∑Q∑∑∑∑And the company's code of conduct?∑I'm
14∑Q∑∑∑∑Any reason to dispute that Helen Kendall was               14∑going to ask you to take a look at these documents.
15∑actually an administrative assistant?                           15∑Are these all documents you signed, acknowledging
16∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                          16∑your receipt of the company handbook and code of
17∑∑∑∑∑∑∑∑You can answer if you know how to                        17∑conduct?
18∑answer that question.                                           18∑A∑∑∑∑That looks like my signature.
19∑∑∑∑∑∑∑∑THE WITNESS:∑I don't know how to                         19∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Let's go ahead and
20∑answer.                                                         20∑mark that Number 3.
21∑BY MS. DOHNER SMITH:                                            21∑∑∑∑∑∑∑∑(Marked Exhibit No. 3.)
22∑Q∑∑∑∑Okay.∑Do you know what her actual job title                22∑BY MS. DOHNER SMITH:
23∑or duties were?                                                 23∑Q∑∑∑∑I'm going to ask you to take a look at this
24∑A∑∑∑∑Human resource.∑Any questions about human                  24∑document.∑Do you have any reason to dispute that
25∑resource, we was told to call Helen Kendall about               25∑this is the company's 2011 employee handbook?


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∑1∑∑∑∑∑∑∑∑MS. COLLINS:∑These aren't Bates                           ∑1∑∑∑∑∑Does that say equal opportunity -- Equal
∑2∑labeled, Exhibit Number 3.∑Have these been                       ∑2∑Employment Opportunity Policy there down at the
∑3∑produced?                                                        ∑3∑bottom?
∑4∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Yeah.∑These were in                     ∑4∑A∑∑∑∑Yes, ma'am.
∑5∑the packet that I gave you when you came in.                     ∑5∑Q∑∑∑∑And if you flip the page, the second
∑6∑∑∑∑∑∑∑∑MS. COLLINS:∑I didn't get a packet                        ∑6∑paragraph says, "If an employee has a question or
∑7∑when I came.                                                     ∑7∑concern about, or is a victim of any type of
∑8∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑When you came to my                     ∑8∑discrimination in the workplace, he or she must
∑9∑office, I handed you a packet.                                   ∑9∑contact his or her divisional HR director or call
10∑∑∑∑∑∑∑∑MS. COLLINS:∑Oh, yeah.∑Okay.∑They                         10∑the compliance hotline," and it provides a number;
11∑just weren't Bates labeled?                                      11∑is that correct?
12∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑They should have                        12∑A∑∑∑∑Yes, ma'am.
13∑been.∑She may have just printed off a copy that                  13∑Q∑∑∑∑Okay.∑And the company actually has a
14∑wasn't Bates labeled.                                            14∑corporate hotline for employees to report issues; is
15∑∑∑∑∑∑∑∑MS. COLLINS:∑Okay.                                        15∑that correct?
16∑BY MS. DOHNER SMITH:                                             16∑A∑∑∑∑This says it does.
17∑Q∑∑∑∑Do you have any reason to dispute this was                  17∑Q∑∑∑∑Okay.∑And it's also posted at the
18∑the company handbook in 2011 that was issued?                    18∑fulfillment center in the breakroom, correct?
19∑A∑∑∑∑Imean, I don't guess I can dispute it. I                    19∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
20∑don't remember it, but...                                        20∑BY MS. DOHNER SMITH:
21∑Q∑∑∑∑You signed a form stating that you received                 21∑Q∑∑∑∑The compliance hotline?
22∑it, correct?                                                     22∑A∑∑∑∑I'm sure it is now.
23∑A∑∑∑∑Iguess so, ma'am.∑There's my signature.                     23∑Q∑∑∑∑Well, it's been posted for quite some time,
24∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                           24∑hasn't it?
25                                                                  25∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
                                                          Page 55                                                             Page 57
∑1∑BY MS. DOHNER SMITH:                                             ∑1∑∑∑∑∑∑∑∑THE WITNESS:∑I don't know.
∑2∑Q∑∑∑∑Okay.∑I'll have you take a -- if you kind                   ∑2∑BY MS. DOHNER SMITH:
∑3∑of go through, down at the bottom there's going to               ∑3∑Q∑∑∑∑If you keep turning pages down at what -- it
∑4∑be some pages that are listed as Page 1, Page 2.∑Or              ∑4∑says Page 7 at the bottom.∑There's a big page there
∑5∑actually just -- let's go to the -- you can just go              ∑5∑that says, "Compliance Hotline," correct?
∑6∑to the second page.∑You don't even have to count.                ∑6∑A∑∑∑∑Yes, ma'am.
∑7∑Just -- just flip over the top page.                             ∑7∑Q∑∑∑∑And it says "Four ways to report."∑Is that
∑8∑A∑∑∑∑Okay.∑I'm sorry.                                            ∑8∑correct?
∑9∑Q∑∑∑∑This document here on the second page                       ∑9∑A∑∑∑∑Yes, ma'am.
10∑requires compliance with the provisions of the                   10∑Q∑∑∑∑And it says you can report by phone, and it
11∑handbook.∑Any reason to dispute it says that?                    11∑provides a telephone number; is that correct?
12∑A∑∑∑∑No, ma'am, I guess not.                                     12∑A∑∑∑∑Yes, ma'am.
13∑Q∑∑∑∑Okay.∑And it also says that violation could                 13∑Q∑∑∑∑And number 2, you can make a report by mail,
14∑lead to disciplinary action, including termination.              14∑and it provides an address; is that correct?
15∑Any reason to dispute that?                                      15∑A∑∑∑∑Yes, ma'am.
16∑A∑∑∑∑No, ma'am.                                                  16∑Q∑∑∑∑And that's an address in Norcross, Georgia,
17∑Q∑∑∑∑Okay.∑If you turn to -- a few pages back,                   17∑correct?
18∑up at the top it says Section A.1, Employment                    18∑A∑∑∑∑It is.
19∑Policies, and at the bottom it actually says Page 2.             19∑Q∑∑∑∑And then it says number 3 is on the
20∑Keep flipping.∑I'll tell you when to stop.                       20∑intranet; is that correct?
21∑A∑∑∑∑(Witness complies.)                                         21∑A∑∑∑∑Yes.∑Yes, ma'am.
22∑Q∑∑∑∑Turn another page.                                          22∑Q∑∑∑∑And then number 4, via the internet; is that
23∑A∑∑∑∑(Witness complies.)                                         23∑correct?
24∑Q∑∑∑∑Or turn one page back.∑My eyes are all                      24∑A∑∑∑∑Do I have an internet?
25∑funny.∑I can't see right.                                        25∑Q∑∑∑∑No.∑I'm saying that there's four ways that


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∑1∑mark that Number 5.                                              ∑1∑A∑∑∑∑Four hours pay, yes, ma'am.
∑2∑∑∑∑∑∑∑∑(Marked Exhibit No. 5.)                                   ∑2∑Q∑∑∑∑-- regardless of whether or not you're there
∑3∑∑∑∑∑∑∑∑THE WITNESS:∑Thank you.                                   ∑3∑for four hours, correct?
∑4∑BY MS. DOHNER SMITH:                                             ∑4∑A∑∑∑∑Yes, ma'am.∑Yes, ma'am.
∑5∑Q∑∑∑∑During the course of your employment, you                   ∑5∑Q∑∑∑∑Now, if you're there more than four hours,
∑6∑were also provided with copies of the plant rules;               ∑6∑you get paid for however long you've worked.
∑7∑is that correct?                                                 ∑7∑A∑∑∑∑Yes, ma'am.
∑8∑A∑∑∑∑Yes, ma'am.                                                 ∑8∑Q∑∑∑∑But if, for example, you're called back to
∑9∑Q∑∑∑∑I'll have you take a look at this document.                 ∑9∑work and you only work two hours, you get paid
10∑It's a two-page document.∑Is that your signature on              10∑four hours, correct?
11∑both sheets evidencing that you received a copy of               11∑A∑∑∑∑Correct.
12∑the plant rules?                                                 12∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Let's go ahead and
13∑A∑∑∑∑It does look like my signature, correct.                    13∑mark that Number 7.
14∑Q∑∑∑∑Okay.∑And if you'll look down there,                        14∑∑∑∑∑∑∑∑(Marked Exhibit No. 7.)
15∑number 3 provides that "no team member shall falsify             15∑∑∑∑∑∑∑∑THE WITNESS:∑Thank you.
16∑any time card or any other record."∑Is that                      16∑BY MS. DOHNER SMITH:
17∑correct?                                                         17∑Q∑∑∑∑It's my understanding that you are suing the
18∑A∑∑∑∑Correct.                                                    18∑company for sexual harassment.∑When did you first
19∑Q∑∑∑∑And number 6 prohibits fighting; is that                    19∑believe you were subject to sexual harassment?
20∑correct?                                                         20∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
21∑A∑∑∑∑Correct.                                                    21∑∑∑∑∑∑∑∑THE WITNESS:∑Right at eight years ago,
22∑Q∑∑∑∑Number 7 prohibits abusive language; is that                22∑might be nine.
23∑correct?                                                         23∑BY MS. DOHNER SMITH:
24∑A∑∑∑∑Correct.                                                    24∑Q∑∑∑∑Nine years ago?
25∑Q∑∑∑∑Number 12 prohibits horseplay; is that                      25∑A∑∑∑∑Because of this year here.
                                                          Page 67                                                             Page 69
∑1∑correct?                                                         ∑1∑Q∑∑∑∑So, nine years ago you believed you were
∑2∑A∑∑∑∑Correct.                                                    ∑2∑subject to sex harassment.∑When you were sitting
∑3∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Let's go ahead and                      ∑3∑there in the workplace, you thought to yourself,
∑4∑mark that Number 6.                                              ∑4∑I've been sexually harassed?
∑5∑∑∑∑∑∑∑∑(Marked Exhibit No. 6.)                                   ∑5∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑6∑∑∑∑∑∑∑∑THE WITNESS:∑Thank you.                                   ∑6∑∑∑∑∑∑∑∑THE WITNESS:∑Yes, ma'am.
∑7∑BY MS. DOHNER SMITH:                                             ∑7∑BY MS. DOHNER SMITH:
∑8∑Q∑∑∑∑I'll have you take a look at another                        ∑8∑Q∑∑∑∑Okay.∑All right.∑Who do you believe has
∑9∑document.∑If you'll take a look at the last page                 ∑9∑sexually harassed you?
10∑there, is that your signature on the last page?                  10∑A∑∑∑∑Tommy Whited.
11∑A∑∑∑∑It looks like my signature, correct.                        11∑Q∑∑∑∑Is there anyone else who has sexually
12∑Q∑∑∑∑And this is the company's attendance policy,                12∑harassed you?
13∑correct?                                                         13∑A∑∑∑∑Physically, just Tommy Whited.
14∑A∑∑∑∑Looks like it, yes, ma'am.∑Correct.                         14∑Q∑∑∑∑Has anybody else sexually harassed you?
15∑Q∑∑∑∑And on the first page it says "Time                         15∑A∑∑∑∑No, ma'am.∑Just Tommy Whited.
16∑Records."∑And it says, "The time card is to be                   16∑Q∑∑∑∑All right.∑What did Tommy Whited do to
17∑punched in when reporting to work and punched out                17∑sexually harass you?∑What I want you to do is go
18∑when leaving work."∑Correct?                                     18∑through and list out every incident you can
19∑A∑∑∑∑Correct.                                                    19∑remember.
20∑Q∑∑∑∑And it provides disciplinary action for not                 20∑A∑∑∑∑Years back, off and on for years, going to
21∑following the guidelines down there at the bottom?               21∑the bathroom, unzipping his zipper, pulling his
22∑A∑∑∑∑Yes, ma'am.                                                 22∑penis out and telling me to come in the bathroom.
23∑Q∑∑∑∑The company also has what's called call-in                  23∑If I want a raise or want to keep my job, come in
24∑pay, correct?∑If you're called in to work outside                24∑there and do what I have to do to keep my job or get
25∑of your normal shift, you get four hours of pay --               25∑a raise.


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∑1∑Q∑∑∑∑Did you actually go in and perform oral sex                 ∑1∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑2∑on him?                                                          ∑2∑∑∑∑∑∑∑∑THE WITNESS:∑If I have to answer this,
∑3∑A∑∑∑∑No, I did not.                                              ∑3∑if he's not part homosexual, he's got the
∑4∑Q∑∑∑∑Okay.∑How many times did he unzip his                       ∑4∑tendencies.
∑5∑zipper, pull out his penis, and tell you to come                 ∑5∑BY MS. DOHNER SMITH:
∑6∑into the bathroom and do what you needed to do to                ∑6∑Q∑∑∑∑Okay.∑What other incident can you remember
∑7∑get a raise?                                                     ∑7∑where he did this?
∑8∑A∑∑∑∑I'd say approximately 11 times physically                   ∑8∑A∑∑∑∑Like I said, there's probably eleven of them
∑9∑doing that.                                                      ∑9∑over the eight-year period.
10∑Q∑∑∑∑When?                                                       10∑Q∑∑∑∑I'm asking for specific incidences.∑Any
11∑A∑∑∑∑The last time was probably a month before --                11∑other incident you can remember?
12∑somewhere around a month before this all went crazy,             12∑A∑∑∑∑There was ten of them, but date-wise, I
13∑before he was dismissed or whatever.                             13∑can't particularly give you the date with all of my
14∑Q∑∑∑∑Where were you?                                             14∑documents getting destroyed.
15∑A∑∑∑∑By the breakroom.∑There's a fence there,                    15∑Q∑∑∑∑Do you recall any other incident, where you
16∑and he was at the bathroom door there and I was                  16∑were, what you were doing, what he said?
17∑coming through to go to the bathroom.∑And I stopped              17∑A∑∑∑∑Well, the sexual -- I call it sexual --
18∑to go in until he finished what he was saying,                   18∑Q∑∑∑∑We're talking just right now about the
19∑whatever, and of course, I waited.∑Then I went                   19∑unzipping of the pants, pulling out the penis, and
20∑outside and waited until he was gone to come back in             20∑telling you to suck his dick.
21∑to go in to go to the restroom.                                  21∑A∑∑∑∑The bathroom down at the front offices where
22∑Q∑∑∑∑What specifically did he say?                               22∑he stayed in Susan's office a lot, he did it a
23∑A∑∑∑∑Unzipped his pants.∑You could see flesh of                  23∑few -- three to four times at that bathroom
24∑his penis.∑Asked me to come in the bathroom and                  24∑entrance.
25∑suck a dick if I want a raise like I've been asking              25∑Q∑∑∑∑Do you remember specific -- any time period
                                                          Page 71                                                             Page 73
∑1∑for all the time.∑He's tired of hearing it.                      ∑1∑that this took place, the two to three times?∑What
∑2∑Q∑∑∑∑Did anybody else witness this?                              ∑2∑year?
∑3∑A∑∑∑∑That particular one, I'm almost 100 percent                 ∑3∑A∑∑∑∑Three of them was within a year of before he
∑4∑positive Susan Hart was standing there.                          ∑4∑got terminated.∑Probably skip a year.∑It happened
∑5∑Q∑∑∑∑How did you respond?                                        ∑5∑twice the year before that.∑Probably once the year
∑6∑A∑∑∑∑Walked off, went out the steps to the                       ∑6∑before that, and two the year before that.
∑7∑smoking shelter there, gave it a few minutes, kind               ∑7∑Q∑∑∑∑So we've got three times in 2016, two times
∑8∑of come up the steps to make sure -- if I knew she               ∑8∑in 2015, one time in 2014, and two times in 2013?
∑9∑wasn't standing there, that he wasn't.                           ∑9∑A∑∑∑∑Ibelieve that sounds correct, ma'am.
10∑∑∑∑∑So I went into the private men's room where                  10∑Q∑∑∑∑All right.∑Tell me about the three times in
11∑there can't -- you can lock the door and there's                 11∑2016.∑What can you remember?
12∑only one commode there.∑There's not a stall like in              12∑A∑∑∑∑The last few years of, I call the end of
13∑the other one and a commode.                                     13∑this nightmare, I believe if he could have pulled me
14∑Q∑∑∑∑Any -- do you think he really wanted you to                 14∑in the bathroom, he would have, and --
15∑suck his dick?                                                   15∑Q∑∑∑∑I'm asking you to tell me about the
16∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                           16∑specifics that you remember about the three
17∑∑∑∑∑∑∑∑THE WITNESS:∑I honestly can't say what                    17∑incidences in 2016 up and near the front office
18∑the man -- if the man wanted me to or not, but I                 18∑bathroom where you said Tommy Whited unzipped his
19∑didn't want to.                                                  19∑pants, pulled out his penis and wanted you to suck
20∑BY MS. DOHNER SMITH:                                             20∑his dick.
21∑Q∑∑∑∑Do you think if you would have said yes, he                 21∑A∑∑∑∑He had the door open going in there,
22∑would have let you?                                              22∑hollering, Kuli, come here.∑And I'm like, what?
23∑A∑∑∑∑Iwouldn't put it past him.                                  23∑And then when I -- kind of like he turned kind of
24∑Q∑∑∑∑Okay.∑So do you think that Tommy Whited is                  24∑around like that and have his pants unzipped, and
25∑a homosexual?                                                    25∑you could see flesh of his penis right there.∑He'd


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∑1∑say, get your ass in here and get down on your                   ∑1∑Q∑∑∑∑These two incidences in 2013 where you say
∑2∑knees.∑You know, give me a blow job, or suck my                  ∑2∑that Tommy unzipped his pants and told you to suck
∑3∑dick, whichever one it would be.∑So, that's as                   ∑3∑his dick, did you contact the district HR director
∑4∑specific as I can...                                             ∑4∑to report that?
∑5∑Q∑∑∑∑How did you react?                                          ∑5∑A∑∑∑∑No, ma'am, I did not.∑I contacted every --
∑6∑A∑∑∑∑Went through the fence and left.∑Hurt,                      ∑6∑Q∑∑∑∑Did you contact --
∑7∑angry, fed up with it.                                           ∑7∑∑∑∑∑∑∑∑MS. COLLINS:∑Let him finish his -- he
∑8∑Q∑∑∑∑What about the two times in 2015?∑Where                     ∑8∑was talking.∑Let him finish what he was saying.
∑9∑were you when that happened?                                     ∑9∑∑∑∑∑∑∑∑THE WITNESS:∑I let every management
10∑A∑∑∑∑It would be at the bathroom by the                          10∑know at my facility.∑I did not know about these
11∑breakroom.                                                       11∑papers, about these HRs and all of these other
12∑Q∑∑∑∑What happened?                                              12∑places we was supposed to call.∑I hadn't seen these
13∑A∑∑∑∑Same -- open the bathroom door, holler at my                13∑documents.∑I --
14∑me to come in there.∑Or he'd stand there and wait,               14∑BY MS. DOHNER SMITH:
15∑if I was on the tow motor or doing something to a                15∑Q∑∑∑∑Well, you signed the one document stating
16∑truck, because the docks were right there.∑He'd do               16∑you received it, correct?
17∑the same incident.∑If he didn't pull it all the way              17∑A∑∑∑∑They lay papers in front of us all the time
18∑out and ask me to suck it, and he said, if you want              18∑in meetings to sign stuff.∑You know, they say
19∑a raise, if you want to keep your job, get in here               19∑before y'all leave, everybody sign this and leave it
20∑and suck my dick.                                                20∑in the pile.∑Had meetings like that for years over
21∑Q∑∑∑∑The one time in 2014, what do you remember                  21∑safety, anything there was.∑There's all kinds of
22∑about that?                                                      22∑meetings.∑They'd have a pile of them here.∑Nobody
23∑A∑∑∑∑If I'm correct on that one, the unzipping of                23∑leave the room until you sign and date this and lay
24∑the pants he did, wanted me to come into the                     24∑it over here in the pile.
25∑bathroom, which would be the one by the breakroom                25∑Q∑∑∑∑Are you saying you never received a copy of
                                                          Page 75                                                             Page 77
∑1∑and the back of -- by the breakroom, grab his                    ∑1∑the handbook throughout your entire employment?
∑2∑underwear, start to come down.∑But I didn't see                  ∑2∑A∑∑∑∑Iprobably did.
∑3∑flesh of the penis or anything on that one.                      ∑3∑Q∑∑∑∑Okay.
∑4∑Q∑∑∑∑What did he say?                                            ∑4∑A∑∑∑∑I'm not going to say I didn't, but I'm not
∑5∑A∑∑∑∑He said, if you don't want me to fire you,                  ∑5∑going to say I remember 100 percent signing this and
∑6∑you're going to get in here and suck my dick.                    ∑6∑this one right here particular.∑I can't honestly
∑7∑Q∑∑∑∑All right.∑What about the two times in                      ∑7∑say that.
∑8∑2013?∑Where were you, what happened?                             ∑8∑Q∑∑∑∑All right.∑But you signed documents saying
∑9∑A∑∑∑∑'13, I'd say I was probably up at the                       ∑9∑you received it.
10∑breakroom at the bathrooms by the dock doors up                  10∑A∑∑∑∑Apparently I did.∑My signature is on there,
11∑there.∑One of them, he unzipped his pants and you                11∑ma'am.
12∑could see the flesh of his penis.∑He'd tell me to                12∑Q∑∑∑∑Okay.∑Are you sitting here today, going to
13∑either suck his dick for a raise or to keep my job               13∑tell me that you didn't know there was a corporate
14∑or both.                                                         14∑HR department in Norcross, Georgia?
15∑∑∑∑∑The second one would be unzipping the pants,                 15∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
16∑and he'd have the door wide open and say, you're                 16∑∑∑∑∑∑∑∑THE WITNESS:∑I'm not going to say
17∑going to get in here, you know, or I'm going to fire             17∑there wasn't.
18∑you.∑You're going to suck it right now, I'm telling              18∑BY MS. DOHNER SMITH:
19∑you.                                                             19∑Q∑∑∑∑Okay.
20∑Q∑∑∑∑Any other instances of him unzipping his                    20∑A∑∑∑∑I'm going to say as an employee at WestRock,
21∑pants and telling you to suck his dick that you can              21∑any kind of incident, we was told to report it to
22∑recall?                                                          22∑your management, and I reported it to every
23∑A∑∑∑∑Not that I can recall right now, ma'am.                     23∑management there was on every incident that ever,
24∑Q∑∑∑∑Anything that would help you remember?                      24∑ever happened, and nothing ever got done.
25∑A∑∑∑∑Not -- I -- that's what I know, ma'am.                      25∑Q∑∑∑∑So you reported the two incidents in 2013


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∑1∑where Tommy unzipped his pants and told you to suck              ∑1∑Q∑∑∑∑Did you report it in person or over the
∑2∑his dick to somebody in management.                              ∑2∑phone?
∑3∑∑∑∑∑Who did you report them to?                                  ∑3∑A∑∑∑∑In person.
∑4∑A∑∑∑∑Larry Eden.                                                 ∑4∑Q∑∑∑∑Where were you?
∑5∑Q∑∑∑∑Okay.∑When did you report them to Larry                     ∑5∑A∑∑∑∑If I'm 100 percent positive, I called him to
∑6∑Eden?                                                            ∑6∑come to the warehouse on them and talked to him
∑7∑A∑∑∑∑Shortly after -- the day after it happened,                 ∑7∑about it.
∑8∑as soon as I saw him, or called him on the phone.                ∑8∑Q∑∑∑∑What did you say?
∑9∑Told Tommy, I didn't want to do that, I'm not like               ∑9∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Sorry.∑We need to
10∑that, I don't want to do that.∑Stop doing it to me.              10∑stop and change a disk.
11∑Q∑∑∑∑Well, did you tell Larry Eden in person or                  11∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We are going off the
12∑did you call him?                                                12∑record.∑This marks the end of Disk 1 of the video
13∑A∑∑∑∑I've called him multiple times, and I told                  13∑deposition of Michael Kulakowski.∑We are off the
14∑him in person in the 12, 13 years I've been there,               14∑record.∑The time on the monitor is 12:03 p.m.
15∑every bit of 90 to 100 times in person, face to                  15∑∑∑∑∑∑∑∑(Recess observed.)
16∑face.                                                            16∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We on the record.∑The
17∑Q∑∑∑∑Well, I'm asking specifically about the two                 17∑time on the monitor is 12:04 p.m.∑This marks the
18∑times in 2013 that you said Tommy Whited unzipped                18∑beginning of Disk 2 of the video deposition of
19∑his pants and told you to suck his dick.∑Did you                 19∑Michael Kulakowski.
20∑report those specific incidences to Larry Eden?∑Did              20∑BY MS. DOHNER SMITH:
21∑you tell him, Tommy called me into the bathroom,                 21∑Q∑∑∑∑So the two incidents in 2015, you said you
22∑pulled down his pants -- pulled down his zipper and              22∑reported them to Larry Eden the day -- was it all on
23∑told me to suck his dick?                                        23∑the same day that they happened or were they two
24∑A∑∑∑∑Yes, I told Larry face to face.                             24∑separate incidents spread out over months or...
25∑Q∑∑∑∑All right.∑When?                                            25∑A∑∑∑∑That was spread out over -- them two was
                                                          Page 79                                                             Page 81
∑1∑A∑∑∑∑Day after it happened.                                      ∑1∑spread out over one-month period.
∑2∑Q∑∑∑∑What did he say?                                            ∑2∑Q∑∑∑∑Okay.∑So did you report each incident or
∑3∑A∑∑∑∑Same remark I always get.∑Kuli, as long as                  ∑3∑did you report one of them?
∑4∑you work here, he's going to do things to you.                   ∑4∑A∑∑∑∑Ireported one of them.
∑5∑Q∑∑∑∑Anybody else you reported these two                         ∑5∑Q∑∑∑∑Okay.∑Was it the first one or the second
∑6∑incidents in 2013 where Tommy unzipped his pants and             ∑6∑one?
∑7∑told you to suck his dick?∑Anybody else that you                 ∑7∑A∑∑∑∑It would be the first one.
∑8∑reported that to?                                                ∑8∑Q∑∑∑∑Okay.∑Did you report it to anyone other
∑9∑A∑∑∑∑Them two incidents there, Larry Eden is the                 ∑9∑than Larry Eden?
10∑only one I can think of that I reported to, the 2013             10∑A∑∑∑∑Reported Larry Eden, plant manager. I
11∑incidents.                                                       11∑reported it to him, so...
12∑Q∑∑∑∑All right.∑The one incident in 2014 where                   12∑Q∑∑∑∑So Larry Eden is the only person you
13∑you say Tommy unzipped his pants and told you to                 13∑reported it to?
14∑suck his dick, did you report that to anybody?                   14∑A∑∑∑∑On that incident, yes.
15∑A∑∑∑∑Ican't honestly sit here and say I did on                   15∑Q∑∑∑∑What did Larry Eden say?
16∑that one.                                                        16∑A∑∑∑∑There's nothing he can do about it.
17∑Q∑∑∑∑Okay.∑The two incidents in 2015 where you                   17∑Q∑∑∑∑The two times in 2013 that you said this
18∑say you were at the bathroom by the breakroom and he             18∑happened, were these spread out or did they happen
19∑unzipped his pants and told you to suck his dick to              19∑in close relation to each other?
20∑keep your job or if you wanted a raise, did you                  20∑A∑∑∑∑The one in '13, close relation, like a day
21∑report that to anybody?                                          21∑apart or something like that.
22∑A∑∑∑∑Larry Eden.                                                 22∑Q∑∑∑∑Okay.∑So did you report both of the
23∑Q∑∑∑∑Okay.∑When did you report it?                               23∑incidents to Larry or one or...
24∑A∑∑∑∑It would be the day after, because I know he                24∑A∑∑∑∑No.∑I reported both of them.
25∑wasn't at the warehouse.                                         25∑Q∑∑∑∑So you had two conversations with him?


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∑1∑A∑∑∑∑Yes, ma'am.                                                 ∑1∑Tommy, so that's why I reported them to him.
∑2∑Q∑∑∑∑The three times in 2016 when you say this                   ∑2∑Q∑∑∑∑Who is Jeb Bell?
∑3∑happened, did you report that to anybody?                        ∑3∑A∑∑∑∑Ithink he's a big wheel with WestRock.
∑4∑A∑∑∑∑Larry Eden.                                                 ∑4∑I've never met the man.
∑5∑Q∑∑∑∑Were they spread out over a time period or                  ∑5∑Q∑∑∑∑Have you ever, ever met anybody who is above
∑6∑close in time?                                                   ∑6∑Tommy?
∑7∑A∑∑∑∑Two were close, one was spread out, probably                ∑7∑A∑∑∑∑Some Tom Perdine (phonetic) or whatever was
∑8∑like two within a week and the other one was like                ∑8∑in one of the meetings.
∑9∑two weeks later.                                                 ∑9∑Q∑∑∑∑Tom Pedine?
10∑Q∑∑∑∑Okay.∑Was one of those three the one that                   10∑A∑∑∑∑Pedeen (phonetic), Pedine, or something. I
11∑took place just a month before he was terminated?                11∑thought he was Tommy's boss.∑He's over -- he was
12∑A∑∑∑∑Yes.                                                        12∑over some multi -- he was a big wheel.∑I don't know
13∑Q∑∑∑∑Tommy was terminated?                                       13∑how big.
14∑A∑∑∑∑Yes.                                                        14∑Q∑∑∑∑Okay.
15∑Q∑∑∑∑So there weren't four times in 2016, there                  15∑A∑∑∑∑He was big enough to probably shut a plant
16∑were three times?                                                16∑down.∑So, to me, he's big.
17∑A∑∑∑∑Three, yes, ma'am.                                          17∑Q∑∑∑∑So, anybody other than Larry Eden that you
18∑Q∑∑∑∑And the one took place shortly before Tommy                 18∑ever reported these incidents to?
19∑was terminated, about a month prior?                             19∑A∑∑∑∑Then with the zipper, Larry Eden.
20∑A∑∑∑∑Yes, ma'am.                                                 20∑Q∑∑∑∑Okay.∑You never called the hotline or
21∑Q∑∑∑∑Okay.∑When did the other two incidents take                 21∑called corporate HR or notified corporate HR; is
22∑place?∑How long before that?                                     22∑that correct?
23∑A∑∑∑∑Ithink my note said -- I think it was --                    23∑A∑∑∑∑Idid not.∑Did not know the number was in
24∑one was a week before that, and the other was                    24∑there; I'm sorry.
25∑probably -- probably a week ahead of that one.                   25∑Q∑∑∑∑Okay.∑Do you remember a meeting, an
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∑1∑Q∑∑∑∑Okay.∑So all within like a month of each                    ∑1∑employee meeting being held when RockTenn merged
∑2∑other?                                                           ∑2∑with Mead Westvaco and they became WestRock?
∑3∑A∑∑∑∑Yes, ma'am.                                                 ∑3∑A∑∑∑∑Iremember some meetings.∑I mean, you know,
∑4∑Q∑∑∑∑Okay.∑Did you report all three incidents to                 ∑4∑they had meetings all the time.
∑5∑Larry or just --                                                 ∑5∑Q∑∑∑∑Well, they sent somebody from corporate to
∑6∑A∑∑∑∑Iverbally, face to face, reported them to                   ∑6∑talk with everybody, with the employees.
∑7∑Larry.                                                           ∑7∑A∑∑∑∑Idon't know if I remember that meeting.
∑8∑Q∑∑∑∑All three incidents?                                        ∑8∑Because Keith Hall is the one that I heard it from.
∑9∑A∑∑∑∑All three incidents.                                        ∑9∑Now, I'm not saying it didn't happen.
10∑Q∑∑∑∑Did you have one conversation where you                     10∑Q∑∑∑∑Okay.∑So there might have been a meeting.
11∑reported all three or --                                         11∑You sitting here today just can't remember it?
12∑A∑∑∑∑No.∑I had three different conversations                     12∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
13∑with him.                                                        13∑∑∑∑∑∑∑∑THE WITNESS:∑I could have been on
14∑Q∑∑∑∑Where did you -- where did your                             14∑vacation.
15∑conversations take place?                                        15∑BY MS. DOHNER SMITH:
16∑A∑∑∑∑One was in my shipping office, one I went                   16∑Q∑∑∑∑Okay.
17∑over to his shipping office, and one was back there              17∑A∑∑∑∑Ijust -- you know, I knew we was merging
18∑at the other end of the warehouse out on the floor.              18∑with somebody because rumors were going around
19∑Q∑∑∑∑What did he say?                                            19∑everywhere.
20∑A∑∑∑∑Kuli, how many times do I have to tell you,                 20∑Q∑∑∑∑So, the summer of 2005, you don't remember
21∑as long as you work here, I cannot do nothing about              21∑anybody from corporate coming out and doing a
22∑it, and he is not going to stop doing things to you.             22∑program?
23∑∑∑∑∑And that's what --                                           23∑A∑∑∑∑No, I do not.
24∑Q∑∑∑∑Anybody else you reported that to?                          24∑Q∑∑∑∑Okay.
25∑A∑∑∑∑Ithought plant manager was top dog besides                  25∑A∑∑∑∑Ijust remember the HR and that Tom Pedine


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∑1∑in that office, when I was telling the story about               ∑1∑reported to corporate HR and somebody above Tommy,
∑2∑what happened, and Tom Pedine saying, well, if you               ∑2∑Tommy is no longer employed.
∑3∑was that scared of him and didn't like it, why                   ∑3∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑4∑didn't you go get another job?∑And so that's when I              ∑4∑BY MS. DOHNER SMITH:
∑5∑made a decision that I can't get anything done, I                ∑5∑Q∑∑∑∑Correct?
∑6∑need to go talk to somebody.                                     ∑6∑A∑∑∑∑Correct.
∑7∑Q∑∑∑∑What do you mean, you can't get anything                    ∑7∑Q∑∑∑∑All right.∑Any other times that Tommy
∑8∑done?                                                            ∑8∑pulled down his zipper, told you to suck his dick?
∑9∑A∑∑∑∑Because I reported every incident to every                  ∑9∑A∑∑∑∑Iremember them incidents.
10∑management there was, and nobody would do anything               10∑Q∑∑∑∑Okay.∑Any others you remember?
11∑about it.                                                        11∑A∑∑∑∑Of the zipper that's -- you know, that's all
12∑Q∑∑∑∑Well, after you reported it to Tom Pedine                   12∑I can remember of them, of the zipper.
13∑and corporate HR, Tommy got fired, right?∑Tommy is               13∑Q∑∑∑∑Okay.∑Anything else Tommy did to sexually
14∑no longer employed, correct?                                     14∑harass you?
15∑A∑∑∑∑He's not employed, but I don't know if it's                 15∑A∑∑∑∑I'd be at my desk and he'd come sneak up
16∑because of me or not.                                            16∑behind me and reach his hand down and grab a handful
17∑Q∑∑∑∑Well, the first time you ever told anybody                  17∑of my balls and squeeze them hard as he could until
18∑from corporate, corporate HR, Tom Pedine, about                  18∑I couldn't breathe.
19∑these incidents, about Tommy, it was August of 2016,             19∑Q∑∑∑∑All right.∑Anything else that he did to
20∑correct?                                                         20∑sexually harass you?
21∑A∑∑∑∑If I -- what's in my notes.                                 21∑A∑∑∑∑Come up behind me and he'd kick me so hard I
22∑Q∑∑∑∑Well, do you have -- did you take notes from                22∑come off the ground and can't breathe, and then
23∑that day?                                                        23∑threaten to fire me because I'm on the ground, can't
24∑A∑∑∑∑When Terri, whoever that Terri girl is,                     24∑breathe.∑Kick me so hard where it flipped me over
25∑called me on the phone and started asking me                     25∑the desk and then threatened to fire me.∑I got
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∑1∑questions, and I told her the story, and then when I             ∑1∑about two seconds to get up and couldn't catch my
∑2∑come back to work and I come down and had a meeting.             ∑2∑breath.
∑3∑And like I said, I'm telling them the story about                ∑3∑Q∑∑∑∑Anything else?
∑4∑all of these years, everything what's happening,                 ∑4∑A∑∑∑∑Always talking about sucking his dick and
∑5∑nobody has done anything about it.∑Then he came in               ∑5∑all that, or he was talking about why don't you stay
∑6∑and then he made the statement, you know, well, why              ∑6∑over today and let me -- you know, going home, I'm
∑7∑didn't you go get another job if you was that scared             ∑7∑going to screw your wife a while, and all this.
∑8∑of him and all of that.                                          ∑8∑Kicking me, punching me, hitting me, would grab
∑9∑Q∑∑∑∑I'm asking, is this about August of 2016?                   ∑9∑my -- grabbing me personally is sexual to me. I
10∑A∑∑∑∑It could be.                                                10∑don't want another man touching my privates.
11∑Q∑∑∑∑Okay.                                                       11∑Q∑∑∑∑All right.∑Let's go through these.
12∑A∑∑∑∑Could be.                                                   12∑∑∑∑∑So you said that he grabbed -- grabbed or
13∑Q∑∑∑∑And then a couple of weeks later, Tommy was                 13∑squeezed your balls.∑He kicked you from behind so
14∑no longer employed at WestRock, correct?                         14∑hard you fell to the ground.
15∑A∑∑∑∑Correct.                                                    15∑∑∑∑∑Did he kick you and make you fall over the
16∑Q∑∑∑∑Do you know why Tommy is no longer employed                 16∑desk or --
17∑at WestRock?                                                     17∑A∑∑∑∑Iwas standing up like this (indicating),
18∑A∑∑∑∑No, I do not.                                               18∑ma'am, doing paperwork, doing a bill.∑Apparently
19∑Q∑∑∑∑But shortly after you reported these                        19∑snuck in the room and he come running across, and
20∑incidents, he was no longer employed, correct?                   20∑his left feet -- foot come between my legs, caught
21∑A∑∑∑∑Well, the way I look at it, eight years I                   21∑me right there and hit me so hard it flipped me over
22∑reported it to management and done and -- but when               22∑my desk into the floor.∑Knocked the computer off
23∑it got reported then, apparently he was dismissed                23∑and everything.∑Lay me out in the floor where I
24∑for some reason.                                                 24∑couldn't breathe or couldn't do anything.
25∑Q∑∑∑∑Okay.∑So, shortly after you finally                         25∑Q∑∑∑∑All right.


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∑1∑A∑∑∑∑He had all -- lumped up and everything else.                ∑1∑Q∑∑∑∑You have documents wrote down at the house
∑2∑Q∑∑∑∑All right.∑And we're going to go through                    ∑2∑of times and dates?
∑3∑each of these.∑I'm just trying to make sure we have              ∑3∑A∑∑∑∑And --
∑4∑all of them out.                                                 ∑4∑Q∑∑∑∑Hold on.∑Do you have at your house
∑5∑∑∑∑∑You said he told you to suck his dick.∑Was                   ∑5∑documents where you've gotten written down times and
∑6∑that outside the context of him pulling down his                 ∑6∑dates of incidents?
∑7∑zipper?                                                          ∑7∑A∑∑∑∑I've turned them in.
∑8∑A∑∑∑∑Yeah.∑There was a lot of times he told me                   ∑8∑Q∑∑∑∑Who did you turn them in to?
∑9∑to suck his dick, you stupid motherfucker, all of                ∑9∑A∑∑∑∑My attorney.
10∑that, without grabbing the zipper, being there at                10∑Q∑∑∑∑Okay.∑Have you given your attorney all the
11∑the bathroom.                                                    11∑documents that have times and dates of incidents --
12∑Q∑∑∑∑So he'd say suck my dick, you stupid                        12∑∑∑∑∑∑∑∑(Overlapping speech.)
13∑motherfucker --                                                  13∑A∑∑∑∑The ones that was left, yes.∑The ones
14∑A∑∑∑∑Yes.                                                        14∑that -- there was 68 that we got -- was disappeared.
15∑Q∑∑∑∑-- or were those separate?∑He'd say suck my                 15∑I couldn't give them any of them because I couldn't
16∑dick and call you --                                             16∑remember them.
17∑∑∑∑∑∑∑∑(Overlapping speech.)                                     17∑Q∑∑∑∑What did you -- where did you keep these
18∑A∑∑∑∑No.∑It would be the same sentence.∑Be the                   18∑notes?
19∑same sentence.∑I'm sorry for the language.                       19∑A∑∑∑∑In my desk in a folder that I bought of my
20∑Q∑∑∑∑I've heard it all before.                                   20∑own, but it was company desk.
21∑∑∑∑∑What was the -- what was -- you said                         21∑Q∑∑∑∑What do you mean, they disappeared?
22∑something about going home and screwing your wife.               22∑A∑∑∑∑Iwas out with my back.∑I come back,
23∑What was that?                                                   23∑everything that was in my desk -- they said they was
24∑A∑∑∑∑He was always trying to make me mad, saying                 24∑moving me to a new office, and they packed my stuff
25∑or teasing, or however he wants to play it, always               25∑up and moved it.∑And all the boxes that they packed
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∑1∑talking about, you know, why don't you make sure you             ∑1∑up, apparently somebody threw them in the dumpster,
∑2∑stay over a little bit, load the truck, or get your              ∑2∑or something like that.∑Must have thought they was
∑3∑guys to load the truck so I can go home and fuck                 ∑3∑trash.∑And it was all -- it was everything I -- you
∑4∑your wife for a while like I usually do.∑Trying to               ∑4∑know, it was all my job stuff, all my documents.
∑5∑make me mad, which it did upset me.                              ∑5∑Not just of this.∑It was everything to do my job
∑6∑Q∑∑∑∑Okay.∑Anything else he did to sexually                      ∑6∑with and everything, phone numbers and --
∑7∑harass you?                                                      ∑7∑Q∑∑∑∑When did this happen?
∑8∑A∑∑∑∑Smack me on the ass, grab my balls.∑I don't                 ∑8∑A∑∑∑∑Four years ago.
∑9∑know what else.                                                  ∑9∑Q∑∑∑∑You make me do math, that's not very nice,
10∑Q∑∑∑∑Anything else that you believe he did that                  10∑especially when I'm not feeling good.
11∑was sexually harassing to you?                                   11∑A∑∑∑∑Idon't meant to do it.∑I mean, I --
12∑A∑∑∑∑Iguess not, ma'am.∑I mean, I don't know.                    12∑Q∑∑∑∑So, is that -- so, we're 2017 right now.
13∑Q∑∑∑∑All right.∑Let's talk about, you said he                    13∑A∑∑∑∑Okay.∑So --
14∑grabbed and squeezed your balls.∑When did that                   14∑Q∑∑∑∑Four years ago from now or four years ago
15∑happen?                                                          15∑from like when Tommy left?
16∑A∑∑∑∑First year all of this started I guess would                16∑A∑∑∑∑No.∑Four years from now.
17∑be about nine years ago, I'd say approximately.                  17∑Q∑∑∑∑Okay.∑So we're talking 2013.
18∑Without my documents being 100 percent accurate, I               18∑A∑∑∑∑Yes, ma'am.
19∑can't help it, but...                                            19∑Q∑∑∑∑Okay.∑When did you start documenting
20∑Q∑∑∑∑What documents do you have?                                 20∑incidents with Tommy?
21∑A∑∑∑∑Ihad a bunch of documents that they got in                  21∑A∑∑∑∑Probably after the tenth or twelfth kick and
22∑my desk and shredded.∑I mean, I know I had                       22∑punch and playing, and calling me stupid
23∑68 documents besides the ones I have wrote down at               23∑motherfucker and all that, I started documenting --
24∑the house of times, dates --                                     24∑I call it drop kicks and the grabbing of the
25∑∑∑∑∑∑∑∑(Overlapping speech.)                                     25∑privates is when I started documenting.


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∑1∑Q∑∑∑∑How many years do you think you were                        ∑1∑A∑∑∑∑Dr. Ferland, Robert Ferland.
∑2∑documenting?                                                     ∑2∑Q∑∑∑∑So you went to him and told him, I've been
∑3∑A∑∑∑∑No less than seven years.∑I had 68 that I                   ∑3∑grabbed in the balls, I need to be checked out?
∑4∑thought was real good documents, but, you know, I --             ∑4∑A∑∑∑∑Ihad to pull my pants down, let him see how
∑5∑Q∑∑∑∑Why did you start documenting these                         ∑5∑swelled up I was.∑One of my testicles was swelled
∑6∑incidents?                                                       ∑6∑up so bad that I had to go home, put something out
∑7∑A∑∑∑∑Ican't honestly say that, except that, you                  ∑7∑of the freezer on them or a bag of ice or something.
∑8∑know, one day I thought I might need it if I got                 ∑8∑He wanted to know how long -- you know, how often
∑9∑fired for something or for whatever reason.∑That's               ∑9∑this happened, and I said it's been going on and so
10∑the only way I know how to answer that, is -- I know             10∑on and so on.
11∑that wasn't the right thing to be done, to be done               11∑Q∑∑∑∑So that would be reflected in your medical
12∑to you.∑So I started writing it down and who was                 12∑records from Dr. Ferland?
13∑there and where it happened and the date it                      13∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
14∑happened.∑So I started documenting it.                           14∑∑∑∑∑∑∑∑THE WITNESS:∑I would -- I'd say so. I
15∑Q∑∑∑∑But prior to August of 2016, you never sent                 15∑mean, I discussed it with him.∑Now, whether, you
16∑those documents to corporate, anyone at corporate                16∑know...
17∑WestRock?                                                        17∑BY MS. DOHNER SMITH:
18∑A∑∑∑∑No, ma'am, I did not.∑I gave corporate the                  18∑Q∑∑∑∑So the grabbing of the balls, we have three
19∑documents I had in that meeting that day.                        19∑to four times in January of 2016, five times in
20∑Q∑∑∑∑Let's go back and talk about the grabbing                   20∑2015, one time in 2014.∑Any other times you can
21∑and squeezing of the balls.∑When did that first --               21∑remember?
22∑how many times has that happened?                                22∑A∑∑∑∑Not of the grabbing and just squeezing as
23∑A∑∑∑∑Like I said, I can't 100 percent be                         23∑hard as I can.
24∑positive, but I'm going to say over an eight-year                24∑Q∑∑∑∑So tell me about the one time in 2014.
25∑period, 192 times that I was either grabbed,                     25∑A∑∑∑∑In the shipping office where I'm stationed
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∑1∑punched, hit in the face, hit with a stick, or                   ∑1∑now, I got up -- my desk is here (indicating). I
∑2∑grabbed in the balls or kicked in my balls.                      ∑2∑got up to go over to get some bills off the printer
∑3∑Q∑∑∑∑I'm talking about the grabbing or squeezing                 ∑3∑or whatever.∑He was real bad about sneaking in the
∑4∑of your balls specifically.                                      ∑4∑door real quiet or whatever, because the truck
∑5∑∑∑∑∑How many times do you think that took place                  ∑5∑drivers are so noisy, in and out.
∑6∑where Tommy Whited grabbed or squeezed your balls                ∑6∑∑∑∑∑He come up, went around like this
∑7∑with his hand?                                                   ∑7∑(indicating), and he just grabbed a handful and just
∑8∑A∑∑∑∑Probably 35.                                                ∑8∑squeezed me until I went to my knees and was begging
∑9∑Q∑∑∑∑When did it start?                                          ∑9∑to please quit.∑And, of course, I couldn't breathe
10∑A∑∑∑∑Be nine years ago, because he's been gone a                 10∑for a few minutes.∑I don't know if it's the same
11∑year.                                                            11∑thing for females, but it doesn't feel good.∑All I
12∑Q∑∑∑∑So in 2008 it started?                                      12∑get is a big laugh out of the deal and get
13∑A∑∑∑∑Yes.                                                        13∑threatened to get fired if you don't hurry up and
14∑Q∑∑∑∑Do you remember any specific incident of                    14∑get up and get back to work.
15∑when he actually grabbed or squeezed your balls?                 15∑Q∑∑∑∑Did you report that incident, the 2014
16∑A∑∑∑∑Ithink there's three or four in January of                  16∑incident, to anybody in management?
17∑2016.                                                            17∑A∑∑∑∑Most of management was watching most of
18∑Q∑∑∑∑All right.∑Any other specific incidences                    18∑these.
19∑you remember?                                                    19∑Q∑∑∑∑I'm talking about this specific incident
20∑A∑∑∑∑There was one 2014.∑There's probably five                   20∑that you just explained where you were in the
21∑2015.∑Ones that I -- just right off the top of my                21∑shipping office, he came in, he reached around you
22∑head, I had to go to the doctor a couple of times                22∑and grabbed your balls with his hand.
23∑over him grabbing, squeezing me so hard, so I'm                  23∑A∑∑∑∑Idon't know particular about that one, if I
24∑trying to remember the dates of that.                            24∑called Larry Eden or not.
25∑Q∑∑∑∑What doctor did you have to go to?                          25∑Q∑∑∑∑Okay.


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∑1∑A∑∑∑∑I'm not going --                                            ∑1∑of the grabbing?
∑2∑∑∑∑∑∑∑∑(Overlapping speech.)                                     ∑2∑A∑∑∑∑Ithink I was -- I was out counting product
∑3∑Q∑∑∑∑Did anyone witness it?                                      ∑3∑that I have my tow motor drivers stack up out -- and
∑4∑A∑∑∑∑Ithink Willie White was in there.∑I think                   ∑4∑there's aisleways that you go through to count, and
∑5∑Donnie Taylor was in there, I believe.                           ∑5∑this, that, and the other.∑And he snuck up and
∑6∑Q∑∑∑∑Did you report this incident to anybody                     ∑6∑jumped me and squeezed a handful.∑And I believe
∑7∑outside of Gallatin?                                             ∑7∑Donnie Taylor was on the tow motor coming by and
∑8∑A∑∑∑∑No.                                                         ∑8∑stopped and saw him.∑And I can't remember if Tommy
∑9∑Q∑∑∑∑All right.∑The five incidents in 2015, take                 ∑9∑Davis -- I don't think it was Tommy Davis.∑I think
10∑me through each of those.                                        10∑it was just Donnie Taylor.
11∑A∑∑∑∑One of the incidents, I was out on the                      11∑Q∑∑∑∑When did that happen?
12∑floor, either counting product or something, when he             12∑A∑∑∑∑I'm going to say somewhere around --
13∑snuck up behind me and grabbed me and just held on               13∑wouldn't have been the first week of April.∑I'd say
14∑until I about cried or teared up, however you                    14∑it might have been the second or third because a lot
15∑want -- people think is funny and think I did it.                15∑of times, you know, inventory is first of the month.
16∑∑∑∑∑But I went down to my knees, of course, and                  16∑Q∑∑∑∑Did you report that incident to anybody?
17∑leaned on the bales of boxes that we make.∑And                   17∑A∑∑∑∑Ican't honestly say if I did or not. I
18∑after he had his little fun of cussing me and                    18∑want to say, no, I don't remember reporting that
19∑calling me a pussy and this, that, and the other, I              19∑one.
20∑finally got up and wobbled to the shipping office                20∑Q∑∑∑∑Okay.∑Fourth incident where he grabbed your
21∑and tried to continue to do my job.                              21∑balls in 2015.
22∑Q∑∑∑∑All right.∑Did you report that incident to                  22∑A∑∑∑∑Ithink we was out on the floor, going
23∑anybody?                                                         23∑over -- I was getting a butt chewing over something.
24∑A∑∑∑∑No, I did not.                                              24∑When I turned my back, he grabbed a handful, pulled
25∑Q∑∑∑∑All right.∑What's the second time it                        25∑me down on the ground.∑And, yes, there was probably
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∑1∑happened in 2015?                                                ∑1∑witnesses.∑Terry Stafford, supervisor; J.C. Cox,
∑2∑A∑∑∑∑Iwas out counting product out on a pallet                   ∑2∑which was the maintenance supervisor; Susan Hart, I
∑3∑out there.∑Tracy Duncan was with me.∑He come up                  ∑3∑think, was around.∑And I told Larry, you know, I'm
∑4∑behind me again, like always, and reached -- come                ∑4∑sick of it, I'm sick of it.
∑5∑through like that (indicating), and reached up under             ∑5∑Q∑∑∑∑What did Larry say?
∑6∑between and grabbed a handful and squeezed as hard               ∑6∑A∑∑∑∑He said, Kuli, you know, if you -- as long
∑7∑as he could squeeze until I go down.∑Just called                 ∑7∑as you're working at this company, he's going to
∑8∑me -- loved to call me a pussy or a stupid                       ∑8∑continue harassing you or grabbing you or hitting
∑9∑motherfucker.∑That's his favorite language he loved              ∑9∑you or doing something to you as long as you're
10∑to call me.∑I reported that one to Larry.                        10∑here.
11∑Q∑∑∑∑When did that one happen?                                   11∑Q∑∑∑∑He said he's going to continue harassing
12∑A∑∑∑∑Probably the second week of -- I want to say                12∑you?∑He used the word harassing?
13∑it was March, but I'm -- the second week of March I              13∑A∑∑∑∑Yes.∑He said he's going to continue
14∑think.                                                           14∑harassing you, cussing you, kicking you, grabbing
15∑Q∑∑∑∑That's fine.∑I won't tie you down.                          15∑you, hitting you.∑He's going to continue doing
16∑∑∑∑∑Do you remember when the first incident when                 16∑everything to you as long as you work here.
17∑you were out on the floor happened, a general time               17∑Q∑∑∑∑Anybody hear you make that report?
18∑period?                                                          18∑A∑∑∑∑Ithink Terry Stafford, and I believe
19∑A∑∑∑∑Probably in February, if I'm trying -- you                  19∑J.C. Cox both heard that.
20∑know, usually separate it out.                                   20∑Q∑∑∑∑Okay.∑Did you report that to anybody
21∑Q∑∑∑∑What about the next time in 2015?∑Did you                   21∑outside of Gallatin?
22∑report that incident to anybody else other than                  22∑A∑∑∑∑No, ma'am.
23∑Larry?                                                           23∑Q∑∑∑∑What about the fifth time in 2015?
24∑A∑∑∑∑No.                                                         24∑A∑∑∑∑It's probably later on, somewhere around
25∑Q∑∑∑∑Okay.∑What about the third incident in 2015                 25∑maybe August.∑That one, the best of my


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∑1∑recollection, would have been in the shipping                     ∑1∑no, I did not.∑No.
∑2∑office, grabbing a -- he grabbed my -- a handful of               ∑2∑Q∑∑∑∑You said he called you a stupid fucking
∑3∑balls, and I was trying to jerk away and he just --               ∑3∑Polak.∑Did you report that to somebody?
∑4∑when he went to let go, he slung me like that and I               ∑4∑A∑∑∑∑Just every management man there is, at
∑5∑flipped over a chair and went upside down up against              ∑5∑either facility, because he did it in front of all
∑6∑the wall.                                                         ∑6∑of them, and --
∑7∑∑∑∑∑There was probably Willie White, Donnie                       ∑7∑Q∑∑∑∑Well, who --
∑8∑Taylor, Terry Stafford, and J.C. Cox, and the white               ∑8∑A∑∑∑∑-- I did rephrase -- you know, Tom, I don't
∑9∑staffing woman that has an office next to me.∑They                ∑9∑like -- you know, I don't like that, and he said, I
10∑was all in there when he did that.∑I think it was                 10∑don't give a fuck what you like.∑If you don't like
11∑Heather in there.                                                 11∑it, I can fire you and you can get out of here.∑So
12∑Q∑∑∑∑Did you report that incident to anybody?                     12∑that's how it was phrased to me.
13∑A∑∑∑∑Ifigured there was two supervisors sitting                   13∑Q∑∑∑∑Who did you report it to?
14∑there.∑So, no, I can't say that I did.                            14∑A∑∑∑∑Larry -- you know, Larry Eden -- going down
15∑Q∑∑∑∑Did you report it to anybody outside of                      15∑the chain of command, you've got the general
16∑Gallatin?                                                         16∑manager, which is Tommy Whited, Larry Eden, which is
17∑A∑∑∑∑No, I did not.                                               17∑plant manager.∑90 percent of the time I reported
18∑Q∑∑∑∑Let's talk about the three to four times you                 18∑all of my stuff to the plant manager, which is Larry
19∑said it took place in January of 2016.∑Tell me what               19∑Eden.
20∑you remember of the first incident.                               20∑Q∑∑∑∑I'm asking you who you reported Tommy
21∑A∑∑∑∑One of them was around the 16th, something                   21∑calling you stupid fucking Polak to.∑Was there a
22∑like that, in the shipping office doing bills. I                  22∑person, a member of management that you reported
23∑was leaning over.∑A lot of times it's quicker to                  23∑that to?
24∑stand up and try to do something real quick, a bill               24∑A∑∑∑∑Larry Eden.
25∑on the computer.∑Donnie Taylor was with me.                       25∑Q∑∑∑∑Okay.∑When did you report that?
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∑1∑∑∑∑∑He snuck in.∑Apparently there was a                           ∑1∑A∑∑∑∑It probably go back to maybe starting 2015 I
∑2∑broomstick in the corner, and he took that and just               ∑2∑started reporting it to him.
∑3∑swung it between my legs and caught me in my                      ∑3∑Q∑∑∑∑How many times did you report to him that
∑4∑privates.∑He took the stick and he hit me across                  ∑4∑he -- that Tommy called you stupid fucking Polak?
∑5∑the back, and I think he hit me across my jaw area                ∑5∑A∑∑∑∑I'd say ten times in 2015 -- bless you.
∑6∑right here (indicating).∑Cussed and called me names               ∑6∑Q∑∑∑∑Thank you.
∑7∑like always.                                                      ∑7∑A∑∑∑∑At least 20 times 2013.∑I don't think I got
∑8∑∑∑∑∑If you want the exact words, it was                           ∑8∑to '14.
∑9∑mostly -- 99 percent of the time it was called, you               ∑9∑Q∑∑∑∑So 20 times in 2013 you reported to Larry
10∑stupid motherfucker, get up and get back to work                  10∑Eden he called me a stupid fucking Polak?
11∑before I fire you.∑And he loved calling me a stupid               11∑A∑∑∑∑He was standing there most probably
12∑fucking Polak.                                                    12∑three-quarters of them when he did it, so...∑And
13∑∑∑∑∑And I'm sorry, ladies, I have to use                          13∑yes, the ones he didn't, I did.
14∑language like that.∑My mother -- I'm not                          14∑Q∑∑∑∑But how was it -- where did this happen?
15∑disrespecting y'all, but that's what he said.                     15∑You work at the fulfillment center.
16∑∑∑∑∑Yeah, I am Polish, and I didn't particularly                  16∑A∑∑∑∑A lot of times I had to go over there for --
17∑care about being called a stupid fucking Polak all                17∑∑∑∑∑∑∑∑(Overlapping speech.)
18∑the time either, and told him, reported it to him,                18∑Q∑∑∑∑You're rarely at the other facility.∑And
19∑and everybody else about that.∑So I didn't like it,               19∑you said Larry is only over there once every three,
20∑but it didn't stop nothing.∑I did not report it to                20∑four months?
21∑anybody outside of Gallatin.                                      21∑A∑∑∑∑Unless Tommy called him over here about a
22∑Q∑∑∑∑All right.∑The incident on January 16th,                     22∑mess or about something wrong with shipping or
23∑2016, did you report that specific incident to                    23∑whatever.
24∑anybody?                                                          24∑∑∑∑∑A lot of times I took paperwork.∑I drove
25∑A∑∑∑∑Just the ones that was in there.∑I mean,                     25∑myself over to the plant to take paperwork or to


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∑1∑pick up paperwork or whatever, which happened a lot.              ∑1∑A∑∑∑∑Helen Kendall heard it, standing there when
∑2∑Q∑∑∑∑Well, where was Tommy?                                       ∑2∑I was up doing paperwork, getting paperwork for her,
∑3∑A∑∑∑∑Tommy would either be at the plant or be at                  ∑3∑taking it over there for whatever reason, which we
∑4∑fulfillment.∑He'd go back and forth.                              ∑4∑thought -- I thought was human resource.
∑5∑Q∑∑∑∑All right.∑So, where were you when he                        ∑5∑Q∑∑∑∑Anybody else?∑Anyone that you would have
∑6∑called you stupid fucking Polak 20 times in 2013?                 ∑6∑reported it to?
∑7∑A∑∑∑∑I'm going to say probably five of them at                    ∑7∑A∑∑∑∑Michael White has heard him talk to me like
∑8∑the plant and fifteen of them in the warehouse.                   ∑8∑that.
∑9∑Q∑∑∑∑Okay.∑So, which ones did Larry Eden observe                  ∑9∑Q∑∑∑∑Anybody --
10∑himself?                                                          10∑A∑∑∑∑Keith Hall.∑And me telling Tommy directly
11∑A∑∑∑∑Iknow he observed one -- observed one at                     11∑that I do not like that.∑Larry Eden.
12∑the plant because he was sitting there.                           12∑Q∑∑∑∑Did you report it to anybody?∑Or you're
13∑Q∑∑∑∑Okay.                                                        13∑just --
14∑A∑∑∑∑Keith Hall was sitting there one of them.                    14∑A∑∑∑∑Not outside of Gallatin.
15∑Q∑∑∑∑Okay.∑Any other times that Larry or Keith                    15∑Q∑∑∑∑Okay.∑Other than Larry, did you actually
16∑heard him call you stupid fucking Polak?                          16∑report it to anybody and call them and say, hey, I
17∑A∑∑∑∑Imean, I -- off the top of my head, I can't                  17∑don't like this, or walk up and say, hey, he called
18∑tell you a specific date that they did or didn't.                 18∑me this, I want him to stop?
19∑He called me so many names and called me that so                  19∑A∑∑∑∑Iguess I have to answer no, because that's
20∑many times, I don't know how anybody could not hear               20∑the only way I know how to answer that because I
21∑it.                                                               21∑don't remember specifically -- specific dates.
22∑Q∑∑∑∑All right.∑Do you remember --                                22∑After you get -- never mind.
23∑A∑∑∑∑I'm trying.                                                  23∑Q∑∑∑∑All right.∑So, we're talking about the
24∑Q∑∑∑∑-- any specific incident where you reported                  24∑three to four times in 2016 where Tommy grabbed you
25∑to Larry in 2013, he called me stupid fucking Polak?              25∑or hit you in the balls.∑We've got the one incident
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∑1∑A∑∑∑∑Date-wise, I can't say I did.∑But, I mean,                   ∑1∑now on January 16th, about, in the shipping office
∑2∑I reported it to him, you know, probably on the                   ∑2∑where he hit you with the broom.
∑3∑phone or -- you know, we used to fish tournaments                 ∑3∑∑∑∑∑Any other incidents in 2016 you remember?
∑4∑together and stuff on weekends.∑A lot of times I'd                ∑4∑A∑∑∑∑I'm trying to think of the date and where I
∑5∑try to talk to him out at the tournament fishing,                 ∑5∑was at.∑I'm sorry I'm taking so long.
∑6∑too.∑I was in the club tournaments.                               ∑6∑Q∑∑∑∑It's okay.
∑7∑Q∑∑∑∑How many times did you tell Larry that he                    ∑7∑A∑∑∑∑It's just, you know...
∑8∑called you stupid fucking Polak?                                  ∑8∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑Do you want to take
∑9∑A∑∑∑∑Idon't know, ma'am.∑I'm going to say 40.                     ∑9∑a break?∑It's actually -- do you want to grab some
10∑Q∑∑∑∑Forty in 2013?                                               10∑lunch?∑It's actually almost 1:00.∑Do you want to
11∑A∑∑∑∑No, ma'am.∑I'm going to say 2013 -- I was                    11∑take a break and grab some lunch?
12∑trying to just say, you know, give it the best                    12∑∑∑∑∑∑∑∑THE WITNESS:∑I just need to get some
13∑figure I can, because I can't come up with exact                  13∑fresh air just for a minute, please.
14∑dates and try to say 40 in that year period.                      14∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑All right.∑Let's go
15∑Q∑∑∑∑Are you meaning that that's how many times                   15∑ahead and take a break quick.
16∑Tommy did it or you reported to Larry 40 times he                 16∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We're going off the
17∑called me stupid fucking Polak, he called me stupid               17∑record.∑The time on the monitor is 12:48 p.m.
18∑fucking Polak?∑You called him 40 times to say --                  18∑∑∑∑∑∑∑∑(Lunch recess observed.)
19∑A∑∑∑∑Iprobably called Larry at least 20 times,                    19∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We are back on the
20∑told him he called me a stupid fucking Polak.                     20∑record.∑The time on the monitor is 1:26 p.m.
21∑Q∑∑∑∑Okay.∑Did you report it to anybody outside                   21∑BY MS. DOHNER SMITH:
22∑of Gallatin?                                                      22∑Q∑∑∑∑Mr. Kulakowski, I'll remind you that you're
23∑A∑∑∑∑No, ma'am.                                                   23∑still under the oath that you gave at the outset of
24∑Q∑∑∑∑Did you report it to anybody else other than                 24∑your deposition.∑Do you understand that?
25∑Larry?                                                            25∑A∑∑∑∑Yes, ma'am.


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∑1∑Q∑∑∑∑Is there anything from your previous                         ∑1∑me, and I come over there, yes, sir, yes, sir.∑And
∑2∑testimony that you need to change or revise?                      ∑2∑he was telling me about something straight, getting
∑3∑A∑∑∑∑No, ma'am.                                                   ∑3∑my guys straightened up, or whatever, and he went
∑4∑Q∑∑∑∑Ithink just before the break, I had asked a                  ∑4∑back like that (indicating), and slapped me.∑That
∑5∑question about the, I think, grabbing or squeezing                ∑5∑was a favorite thing of his, too --
∑6∑of the balls incidents in 2013, and you had gone                  ∑6∑∑∑∑∑∑∑∑(Overlapping speech.)
∑7∑through one of those incidents that took place in or              ∑7∑Q∑∑∑∑So he went --
∑8∑about January of 2016, around the 16th of January.                ∑8∑A∑∑∑∑Like this (indicating).
∑9∑And I had asked you to tell me about the second                   ∑9∑Q∑∑∑∑Like he backhanded you --
10∑incident.                                                         10∑A∑∑∑∑Backhanded me in the privates.
11∑A∑∑∑∑Ithink it was the 28th of January, 2016,                     11∑Q∑∑∑∑-- in the groin area --
12∑there was an incident in the shipping office.∑It                  12∑A∑∑∑∑Yes, ma'am.
13∑wasn't grabbing me.∑It was kicking me very hard.                  13∑Q∑∑∑∑-- with his hand?∑Okay.
14∑And there was Tommy Davis, Donnie Taylor, I know                  14∑A∑∑∑∑And I think Donnie Taylor was there on the
15∑them two were in there when that incident happened.               15∑tow motor, Willie White, and Tommy Davis was all
16∑Q∑∑∑∑Okay.∑So explain that incident for me.                       16∑right in that vicinity.∑And I don't recall
17∑A∑∑∑∑Iwas standing up, leaning on my desk, doing                  17∑reporting that one either to Gallatin or...
18∑papers, and the shipping office door is back here                 18∑Q∑∑∑∑All right.∑Was there any other incident,
19∑(indicating), with truck drivers in and out and all,              19∑then, in 2016?∑You've told me three, but you said
20∑he sneaks in and comes up behind me and he takes                  20∑there might be three or four.
21∑like a three step running start and a foot come                   21∑A∑∑∑∑Ithink it was just three, ma'am --
22∑between my legs, and it -- I mean, it hurt so bad                 22∑Q∑∑∑∑Okay.
23∑that I think that particular time I went on the desk              23∑A∑∑∑∑-- in that month there.
24∑and then bounced off onto the floor, concrete floor.              24∑Q∑∑∑∑Okay.∑Any others in 2016?∑We had gone
25∑Of course, got told, you've got seconds to get up                 25∑through the grabbing and squeezing of balls.
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∑1∑and get your ass back to work or I'm firing you.                  ∑1∑A∑∑∑∑Right.
∑2∑∑∑∑∑I heard the firing word for -- I don't know,                  ∑2∑Q∑∑∑∑That was kind of one category.∑We got some
∑3∑3,000, 4,000 times or something, but I was still                  ∑3∑other incidents in there.∑Any other incidents of
∑4∑terrified of it.                                                  ∑4∑grabbing or squeezing your balls that you recall?
∑5∑Q∑∑∑∑All right.∑So did you report this incident                   ∑5∑A∑∑∑∑Ithink, if I'm correct, ma'am, that the
∑6∑in or about January 28th to anybody?                              ∑6∑grabbing and the squeezing with the hand physically,
∑7∑A∑∑∑∑Not outside of Gallatin.                                     ∑7∑I think we've covered it.
∑8∑Q∑∑∑∑Okay.∑Did you report it to anybody at                        ∑8∑Q∑∑∑∑Okay.∑So the second thing, then, was kicked
∑9∑Gallatin?                                                         ∑9∑from behind and made you fall to the ground.
10∑A∑∑∑∑Idon't recall reporting that one, ma'am.                     10∑A∑∑∑∑Yes, ma'am.
11∑Q∑∑∑∑Okay.∑All right.∑So that's a second.∑You                     11∑Q∑∑∑∑Okay.∑So, let's kind of do the same thing.
12∑said there were three or four.∑What's the next one                12∑Tell me 2000 -- you know, when did that start and
13∑you remember?                                                     13∑tell me the years and how many happened each year
14∑A∑∑∑∑There had to be just three.                                  14∑and we'll go through them each.
15∑Q∑∑∑∑Okay.                                                        15∑A∑∑∑∑If I'm correct, I'm pretty sure I think
16∑A∑∑∑∑Because I know the 16th was one, the                         16∑2013, if my math is correct.∑Let's see, that's not
17∑28th was one.∑I want to say the third one would                   17∑early enough.∑Let's see.
18∑have had to have been before then, the first week                 18∑∑∑∑∑Probably 2009, probably in January.
19∑of -- somewhere right in the first or up in there.                19∑Q∑∑∑∑Okay.∑Any times in 2010?
20∑Q∑∑∑∑Okay.∑So first week of January?                              20∑A∑∑∑∑Iwant so say there's probably, without
21∑A∑∑∑∑Somewhere right up in that first few days of                 21∑telling a lie, five.
22∑January.                                                          22∑Q∑∑∑∑Five in 2010?
23∑Q∑∑∑∑Okay.                                                        23∑A∑∑∑∑Yes, ma'am.
24∑A∑∑∑∑Actually, the best of my memory, ma'am, I                    24∑Q∑∑∑∑How many in 2009?
25∑was on the floor.∑When he come by, he hollered at                 25∑A∑∑∑∑I'm honestly wanting to tell you three,


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∑1∑ma'am.                                                            ∑1∑get me to take that shipping job.
∑2∑Q∑∑∑∑Okay.∑2011?                                                  ∑2∑Q∑∑∑∑Did you report it to anybody else?
∑3∑A∑∑∑∑Seven.                                                       ∑3∑A∑∑∑∑No, ma'am.∑Not outside of Gallatin, no,
∑4∑Q∑∑∑∑2012?                                                        ∑4∑ma'am.
∑5∑A∑∑∑∑Six.                                                         ∑5∑Q∑∑∑∑All right.∑You said there were three.∑So
∑6∑Q∑∑∑∑2013?                                                        ∑6∑what are the other incidents in 2006?∑I mean, 2016.
∑7∑A∑∑∑∑I'm sorry.∑I'm trying to count on my                         ∑7∑I'm sorry.∑Thank you.
∑8∑fingers to keep things.∑Started building up a                     ∑8∑A∑∑∑∑Ithought -- the other two was in the
∑9∑little bit then.∑I want to go eight.                              ∑9∑shipping office, when I was doing the paperwork.
10∑Q∑∑∑∑2014?                                                        10∑Q∑∑∑∑Are those the ones you already told me
11∑A∑∑∑∑In the whole year, 12.                                       11∑about?
12∑Q∑∑∑∑2015?                                                        12∑A∑∑∑∑Yes, ma'am.
13∑A∑∑∑∑Probably ten.                                                13∑Q∑∑∑∑Okay.
14∑Q∑∑∑∑2016?                                                        14∑A∑∑∑∑I'm sorry.∑Yes, ma'am, that's the ones I
15∑A∑∑∑∑Couldn't be -- it couldn't no more than                      15∑was talking about.
16∑three, because he got terminated somewhere around in              16∑Q∑∑∑∑Okay.∑All right.∑So 2015.∑Tell me any of
17∑there.                                                            17∑the incidences you recall from 2015.
18∑Q∑∑∑∑Let's kind of work backwards.                                18∑A∑∑∑∑In '15, I'm going to say that I probably
19∑A∑∑∑∑Okay.                                                        19∑had, in the total of the ones in '15, probably three
20∑Q∑∑∑∑Tell me about the incidents of kicking --                    20∑of them were the kicks.
21∑kicking in 2016.                                                  21∑Q∑∑∑∑Okay.
22∑A∑∑∑∑There's one incident somewhere around                        22∑A∑∑∑∑And the other ones were, that I haven't
23∑January 2016, 22nd, somewhere in there.∑There's a                 23∑discussed about him grabbing my privates, was the
24∑picnic table outside the shipping office right by                 24∑backhand slap that he liked to do.
25∑the gate.∑When it's warm weather, we would -- my                  25∑Q∑∑∑∑Okay.
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∑1∑shipping guys would eat right there.                              ∑1∑A∑∑∑∑Which still hurts very badly.∑But --
∑2∑∑∑∑∑And Michael White, Terry Stafford, myself                     ∑2∑Q∑∑∑∑Let's talk about the three kicks.∑Tell me
∑3∑were discussing a project coming, and Tommy come                  ∑3∑about those.
∑4∑around and parked his truck and got out and was                   ∑4∑A∑∑∑∑Coming up behind me, kicking me where it
∑5∑talking, and I got up and was fixing to go back in                ∑5∑lifts you six -- you know, I weigh 230 pounds.∑I'm
∑6∑or something, because I didn't feel like something                ∑6∑a pretty large man.∑But when you can lift me four
∑7∑happening, and before I could even get going, he                  ∑7∑to five inches off the ground, by a man kicking you
∑8∑come running up behind me real quick and he kicked                ∑8∑right there, it takes everything you've got.∑I'm
∑9∑me, and I went down on the gravel and couldn't catch              ∑9∑not a weak man or a sissy man, but it takes
10∑my breath.∑Of course, the men at that table were                  10∑everything I've got to catch my breath and get up
11∑more or less to me all supervisors.                               11∑and try to continue doing my job and not do
12∑Q∑∑∑∑Did you report that incident to anybody?                     12∑something, hit him back or something like that.
13∑A∑∑∑∑Just Larry.∑But I felt like, you know --                     13∑∑∑∑∑You know, my biggest thing that I'm proud of
14∑Q∑∑∑∑What did you tell Larry?                                     14∑is I never did touch this man ever, the whole time I
15∑A∑∑∑∑Itold Larry that I'm sick and tired of him                   15∑was there.∑And as surprising it sounds, I would try
16∑kicking me in my privates, drop kicking me down                   16∑to kill myself to please him.∑It didn't matter what
17∑where I can't breathe, and then threatened to get                 17∑kind of job he gave me to do, I tried to do
18∑fired over that.∑And for the hundredth time, his                  18∑everything to please him like I would my own father
19∑response would be, Kuli, as long as you work here --              19∑if he was alive.∑Even after the treatment he would
20∑or he phrased it this time, as long as you work here              20∑give me, I would go do everything I could to make
21∑or he works here, it's going to continue happening.               21∑sure that I did a good job for him.∑I don't know
22∑And I'm like, I just can't take much more of this.                22∑why.∑It could be strange.∑I'm sorry, but I'm just
23∑And I walked off.                                                 23∑telling you the truth.
24∑∑∑∑∑He was at the warehouse that day.∑That was                    24∑Q∑∑∑∑I'm just trying to kind of figure out the
25∑when they was trying to get me set up or trying to                25∑facts of the --


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∑1∑∑∑∑∑∑∑∑(Overlapping speech.)                                     ∑1∑times in 2015 to anybody outside of Gallatin?
∑2∑A∑∑∑∑Iunderstand.∑But I just --                                  ∑2∑A∑∑∑∑Not outside of Gallatin, no, ma'am.
∑3∑Q∑∑∑∑Do you recall any of them sitting here                      ∑3∑Q∑∑∑∑Okay.∑Did you report it to anybody else in
∑4∑today, so you could say where you were and what                  ∑4∑Gallatin?
∑5∑happened?                                                        ∑5∑A∑∑∑∑Michael White was a witness to a lot of
∑6∑A∑∑∑∑90 -- 80 to 90 percent of the kicks or the                  ∑6∑these incidents.
∑7∑hits or anything were near my shipping office or in              ∑7∑Q∑∑∑∑Okay.∑Is there anybody else you reported it
∑8∑my shipping dock area.∑With the new contract of GE               ∑8∑to, that you said, you know, he's doing this, he's
∑9∑at the other end of the facility where Susan Hart's              ∑9∑harassing me, he's hurting me, whatever it may, I
10∑office was, and when them two would come out on the              10∑want it to stop, other than Larry?
11∑floor and come down there, that's when he would do               11∑A∑∑∑∑Just Tommy hisself.∑You know, I told Susan
12∑most of his abuse, somewhere in that vicinity of my              12∑Hart, Larry, and Michael White.∑Even Helen Kendall,
13∑shipping office and in front of my docks right                   13∑who was HR when I was there doing something, getting
14∑there.                                                           14∑paperwork, she knew me and she knew how I was being
15∑Q∑∑∑∑The three times that he kicked you in the                   15∑treated.∑And of course, I thought she was HR.∑And
16∑groin in 2015, did you report those incidents to                 16∑of course, she says, you know, I can't do nothing
17∑anybody, those specific incidents?                               17∑about it.∑I was kin to him by marriage, and anybody
18∑A∑∑∑∑Larry, of course I've told Keith Hall about                 18∑that says anything bad about him, Michael, he's
19∑one of them in '15.                                              19∑going to fire, and said, why do you think he's done
20∑Q∑∑∑∑Okay.                                                       20∑this for so many years.∑Because apparently it went
21∑A∑∑∑∑Iconsidered him -- I'm not exactly sure                     21∑on long before I ever got there.∑That's what I was
22∑what his title was then, but he always was a big                 22∑told.
23∑wheel because he's been there for years.                         23∑Q∑∑∑∑So Helen -- what exactly did you report to
24∑Q∑∑∑∑Did you tell Larry about all three                          24∑Helen?∑One of these --
25∑incidences or just --                                            25∑A∑∑∑∑Helen Kendall --
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∑1∑A∑∑∑∑Iknow I told him about one of them, ma'am.                  ∑1∑Q∑∑∑∑-- three incidents in 2015?
∑2∑Q∑∑∑∑Okay.                                                       ∑2∑A∑∑∑∑Ireported to Helen Kendall in 2015 that
∑3∑A∑∑∑∑Ican't tell you that I told him about all                   ∑3∑Tommy multiply kicks me in my groins and cusses me
∑4∑three.∑I know I told him one of them.                            ∑4∑and calls me a stupid fucking Polak and all this.
∑5∑Q∑∑∑∑And what was Larry's response?∑The same?                    ∑5∑And she just says, you know how he is, and that's
∑6∑A∑∑∑∑He just shook his head.∑He just didn't say                  ∑6∑the only response I would get.
∑7∑nothing.∑He just said -- he just...                              ∑7∑∑∑∑∑And so, I thought, well, okay, you're HR.
∑8∑Q∑∑∑∑What about Keith Hall?∑How did he respond?                  ∑8∑And Helen said, well, you know how he is, Michael.
∑9∑A∑∑∑∑There's the incident that happened in                       ∑9∑Or they called me Kuli.∑I'm sorry.∑I did not
10∑Larry's office with Keith Hall in it and another                 10∑report it outside of Gallatin.
11∑supervisor, Billy Eden.∑And Tommy Whited was in                  11∑Q∑∑∑∑She said, though, I can't do anything about
12∑there.∑And he punched me like with his fist in my                12∑it because I'm kin to him?
13∑groin.∑Of course I dropped, and they all just                    13∑A∑∑∑∑Yes.∑And I'd get fired, just like anybody
14∑started laughing, thought it was funny and stuff.                14∑else.∑Of course, she did tell me -- she just
15∑∑∑∑∑I was at -- I was at the plant at that time.                 15∑retired here, I think before he got -- at her going
16∑They needed me over there to go over some shipping               16∑away party, she says, if you ever do anything about
17∑stuff.∑I guess the response was getting laughed at.              17∑this, please tell them to call me because I can tell
18∑Q∑∑∑∑Okay.∑So you didn't tell Keith Hall, I                      18∑them all about it now.∑Once my retirement's in,
19∑don't -- you know, I'm being harassed or he's hurt               19∑they can't take it back away from me.
20∑me, I want him to stop?∑Keith Hall --                            20∑∑∑∑∑Of course, in a way, I was happy she was
21∑A∑∑∑∑Not that particular time.                                   21∑retiring, but I was thinking, well, you know, you
22∑Q∑∑∑∑-- he witnessed it.                                         22∑could have did something a long time ago, a lot of
23∑∑∑∑∑And was that one of the three times in 2015?                 23∑this probably wouldn't have happened if you'd --
24∑A∑∑∑∑Yes, ma'am.                                                 24∑that's my opinion, nobody else's.
25∑Q∑∑∑∑Okay.∑Did you report any of those three                     25∑Q∑∑∑∑So, Mike White, was it one of these


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∑1∑incidences that you reported to him in 2015, or when              ∑1∑A∑∑∑∑Yes, ma'am.
∑2∑did you --                                                        ∑2∑Q∑∑∑∑All right.∑Did you report any of the two
∑3∑∑∑∑∑∑∑∑(Overlapping speech.)                                      ∑3∑kicks to anybody in 2014?
∑4∑A∑∑∑∑He was there -- he was at that picnic                        ∑4∑A∑∑∑∑Idon't -- I can't honestly tell you I did,
∑5∑table --                                                          ∑5∑ma'am.
∑6∑Q∑∑∑∑Okay.                                                        ∑6∑Q∑∑∑∑Okay.∑What about any of the ten backhands?
∑7∑A∑∑∑∑-- sitting on one of them --                                 ∑7∑A∑∑∑∑Only reporting I did about them then would
∑8∑Q∑∑∑∑So Mike White was a witness; you didn't                      ∑8∑be to employees that have been there for 20 years or
∑9∑report it to him.                                                 ∑9∑more that I had respect for and stuff and asked
10∑A∑∑∑∑Right.                                                       10∑opinions of what to do.∑But as a boss or called
11∑Q∑∑∑∑He witnessed it himself, okay.                               11∑corporate or anything, I did not.
12∑A∑∑∑∑He witnessed multiple years of it.                           12∑Q∑∑∑∑Okay.∑Who did you ask what you should do?
13∑Q∑∑∑∑And then Susan Hart, did you report one of                   13∑A∑∑∑∑Terry Stafford.∑Ken Buckmaster was in
14∑these incidents in 2015 or she witnessed it?                      14∑maintenance for years and years.∑J.R. Sanders,
15∑A∑∑∑∑She witnessed them.∑She was with him a lot                   15∑which actually threatened to kill me, just like
16∑when he did it and thought it was funny and stuff.                16∑Tommy did, literally.∑And they said the best thing
17∑Q∑∑∑∑Okay.∑So what about the -- you said also                     17∑you can do is shut your mouth because he's going to
18∑the other incidents in 2015 would be him backhanding              18∑continue doing it or you're going to get fired.
19∑you to the groin.∑Can you recall any of those?                    19∑Q∑∑∑∑They all -- so what did Terry Stafford say?
20∑A∑∑∑∑Just in the warehouse -- date-wise exactly                   20∑A∑∑∑∑He said you best shut your mouth about it
21∑couldn't.∑But the ones in '15, Tracy Duncan saw a                 21∑and not say nothing to nobody or you'll use your job
22∑lot of them.∑Me and Tracy Duncan was in the                       22∑because he'll fire you.
23∑offices.∑She's Q -- quality control, saw a lot of                 23∑Q∑∑∑∑Okay.∑What did Ken Buckmaster say?
24∑this stuff go on.                                                 24∑A∑∑∑∑He said, you need to go tell Larry about it.
25∑∑∑∑∑Donnie Taylor is one of my tow motor                          25∑I said, well, I have told him some.∑And he said,
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∑1∑drivers.∑He witnesses a whole lot of them.∑And                    ∑1∑well, you need to report it again, and you need to
∑2∑they witnessed them, too, in '15.                                 ∑2∑start documenting things.
∑3∑Q∑∑∑∑The slapping of the -- the backhanding of                    ∑3∑∑∑∑∑That's where I come up -- one of the ideas
∑4∑the hand to the groin, did you report -- in 2015,                 ∑4∑somebody told me to start documenting things, even
∑5∑did you report that to anybody?                                   ∑5∑on a scratch piece of paper or whatever.
∑6∑A∑∑∑∑Just to Larry.∑Larry is my top reporter                      ∑6∑Q∑∑∑∑Okay.∑So you started documenting it because
∑7∑because I thought he was plant manager and could --               ∑7∑Ken Buckmaster told you you should start documenting
∑8∑I just thought that's the highest you could go and                ∑8∑it?
∑9∑it could stop.                                                    ∑9∑A∑∑∑∑Yes, ma'am.
10∑Q∑∑∑∑Did you report it outside of Gallatin?                       10∑Q∑∑∑∑That was about in 2004 sometime -- 2014
11∑A∑∑∑∑No, ma'am.                                                   11∑sometime?
12∑Q∑∑∑∑Okay.∑All right.∑Let's go back, then.                        12∑A∑∑∑∑Yeah.∑Somewhere right around in there, I'm
13∑∑∑∑∑2014, how many of those are kicks and how                     13∑thinking, something like that.∑So many dates we're
14∑many of those are the backhand to the groin?∑You                  14∑talking about, I can't -- I'm just -- I'm trying my
15∑said there were about 12 times in 2014.                           15∑best.
16∑A∑∑∑∑To be absolutely honest with you, I'm going                  16∑Q∑∑∑∑What about J.R. Sanders?∑What did he tell
17∑to say two kicks and the rest backhands.                          17∑you to do?
18∑Q∑∑∑∑Okay.                                                        18∑A∑∑∑∑He was working a different shift.∑He'd been
19∑A∑∑∑∑They were actually probably done at the                      19∑there for a lot of years.∑This was -- this is
20∑tobacco end of the warehouse on the floor in front                20∑probably 2015 or -- well, it was -- I think it
21∑of somebody or -- couldn't tell you exactly a person              21∑was -- it was right before Tommy got dismissed, I
22∑because there were so many people working in the                  22∑believe.∑We was at the picnic table eating.∑He
23∑tobacco stuff.                                                    23∑come in on second shift, and he was going up the
24∑Q∑∑∑∑So you can't remember any specific incident,                 24∑steps to clock in.∑And there's about five of us
25∑you're just estimating that many times?                           25∑eating at the table, and somebody said something,


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∑1∑said, hey, J.R., or whatever, and he said something.              ∑1∑anything or anything to try -- I can't say the word.
∑2∑We always thought J.R. was bipolar anyway.∑He had                 ∑2∑If you say anything bad about Tommy Whited, you'll
∑3∑five incidents where he'd punch people in the face                ∑3∑be fired or you'll be out the door for some kind of
∑4∑and they sent him to anger management.                            ∑4∑reason.
∑5∑∑∑∑∑But anyway, for some reason he thought I                      ∑5∑Q∑∑∑∑Okay.∑Did you report it to anybody else
∑6∑said something, so he come running across the                     ∑6∑other than Mike White?
∑7∑parking lot, and he jumped right in the middle of                 ∑7∑A∑∑∑∑No, ma'am.
∑8∑the picnic table where people were eating and he                  ∑8∑Q∑∑∑∑Okay.∑What about 2012?∑You said there were
∑9∑swung at me and hit me across my shoulder right here              ∑9∑six incidents.∑Kick or backhand to the groin?
10∑(indicating), and knocked me into the fence, and                  10∑A∑∑∑∑Backhand, ma'am.
11∑then started trying to swing.∑One of my tow motor                 11∑Q∑∑∑∑Okay.
12∑drivers is huge, and Larry Eden was parked right                  12∑A∑∑∑∑And I did not report them outside of
13∑next to us and didn't stop it or nothing.∑He rolled               13∑Gallatin.
14∑his window up and didn't do nothing, but...                       14∑Q∑∑∑∑Okay.∑Did you report any of those incidents
15∑Q∑∑∑∑My question, though, was --                                  15∑to anybody in Gallatin?
16∑A∑∑∑∑Oh, I'm sorry.                                               16∑A∑∑∑∑No, ma'am.∑I was at the point I was just
17∑Q∑∑∑∑Ithought you said you went to J.R. Sanders                   17∑scared, like wondering how this could happen.
18∑for guidance about --                                             18∑Q∑∑∑∑Okay.
19∑∑∑∑∑∑∑∑(Overlapping speech.)                                      19∑A∑∑∑∑No, I did not.
20∑A∑∑∑∑Iasked him what he would do about it.                        20∑Q∑∑∑∑All right.∑2011, you said there were seven
21∑Q∑∑∑∑Okay.                                                        21∑incidents.∑What are we dealing with there?
22∑A∑∑∑∑He also -- his response was, you need to                     22∑A∑∑∑∑Probably just all slaps.
23∑keep your F'ing mouth shut about it before you lose               23∑Q∑∑∑∑Okay.∑Slaps to the groin?
24∑your job.                                                         24∑A∑∑∑∑Yes, ma'am.
25∑Q∑∑∑∑Okay.∑Anybody else that you went to for                      25∑Q∑∑∑∑Okay.∑Did you report those to anybody in
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∑1∑guidance?                                                         ∑1∑2011?
∑2∑A∑∑∑∑Ican't recall right off -- right now off                     ∑2∑A∑∑∑∑I'm not -- I can't honestly say I did.
∑3∑the top of my head.                                               ∑3∑Q∑∑∑∑Okay.∑Did you report it outside of
∑4∑Q∑∑∑∑And the backhanding to the groin, you never                  ∑4∑Gallatin?
∑5∑reported that to anybody outside of Gallatin?                     ∑5∑A∑∑∑∑No, ma'am.
∑6∑A∑∑∑∑No, ma'am.                                                   ∑6∑Q∑∑∑∑Okay.∑2010, you've got five incidents.
∑7∑Q∑∑∑∑Okay.∑All right.∑2013.∑We've got, you                        ∑7∑What are those?
∑8∑said, eight incidents.∑How many were kicks,                       ∑8∑A∑∑∑∑Be slaps.
∑9∑backhand to the groin?∑What are we talking about?                 ∑9∑Q∑∑∑∑Okay.∑Did you -- slaps to the groin?
10∑A∑∑∑∑I'm going to say probably one kick, which                    10∑A∑∑∑∑Yes, ma'am, slaps to the groin.
11∑would have been in the shipping office.∑Rest of                   11∑Q∑∑∑∑Did you report those to anybody in 2010?
12∑them would have been backhands.                                   12∑A∑∑∑∑No, ma'am.∑Just my -- people I work with
13∑Q∑∑∑∑Okay.∑In 2013, did you report that one                       13∑and which aren't nobody.
14∑kicking incident to anybody?                                      14∑Q∑∑∑∑Okay.∑Did you report it outside of
15∑A∑∑∑∑No, ma'am.                                                   15∑Gallatin?
16∑Q∑∑∑∑Okay.∑What about the seven backhanding to                    16∑A∑∑∑∑No, ma'am.
17∑the groin?∑Did you report those to anybody?                       17∑Q∑∑∑∑2009, you said there were three incidents.
18∑A∑∑∑∑Ijust told Michael White, I didn't                           18∑What would those have been?
19∑understand how he can get away with all this.                     19∑A∑∑∑∑They'd have been all just slaps to the
20∑Q∑∑∑∑Was that in 2013 or --                                       20∑groin.
21∑A∑∑∑∑Yes, ma'am.                                                  21∑Q∑∑∑∑Okay.
22∑Q∑∑∑∑-- is that some other time?                                  22∑A∑∑∑∑The real kicks didn't come until a bit later
23∑A∑∑∑∑No.∑That was 2013.                                           23∑and really got violent later on in years.
24∑Q∑∑∑∑Okay.∑And what did Mike White say?                           24∑Q∑∑∑∑Okay.∑Did you report those slaps to the
25∑A∑∑∑∑He said, you'll learn that if you say                        25∑groin to anybody --


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∑1∑A∑∑∑∑No, ma'am.                                                   ∑1∑Q∑∑∑∑Like you might yell out, oh, fuck, or
∑2∑Q∑∑∑∑-- that took place in 2009?                                  ∑2∑something like that?
∑3∑A∑∑∑∑Not that I recall, ma'am, I did not.                         ∑3∑A∑∑∑∑No, I won't scream out where people --
∑4∑Q∑∑∑∑Okay.∑Did you report it to anybody outside                   ∑4∑Q∑∑∑∑Okay.
∑5∑of Gallatin?                                                      ∑5∑A∑∑∑∑-- can hear me and I get in trouble.∑And I
∑6∑A∑∑∑∑No, ma'am.                                                   ∑6∑won't say something in front of truck drivers or
∑7∑Q∑∑∑∑All right.∑The next thing -- well, I'm                       ∑7∑women, no, I do not.
∑8∑going down the list.∑We had grabbed or squeezed                   ∑8∑Q∑∑∑∑Okay.
∑9∑your balls, kicked from behind, fell to the ground.               ∑9∑A∑∑∑∑Ido not do that.
10∑There was another one, kicked so hard you flipped                 10∑Q∑∑∑∑Well, if other people report that you say --
11∑over the desk.∑Is that the one we've already talked               11∑that motherfucker is one of your phrases that you
12∑about --                                                          12∑use quite frequently in the workplace, how do you
13∑A∑∑∑∑Yes, ma'am, we talked --                                     13∑respond to that?
14∑Q∑∑∑∑-- where he came up behind and kicked you                    14∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
15∑and you kind of flipped over the desk?                            15∑∑∑∑∑∑∑∑THE WITNESS:∑It's not true.
16∑A∑∑∑∑Yeah.∑I went all the way over.                               16∑BY MS. DOHNER SMITH:
17∑Q∑∑∑∑Okay.                                                        17∑Q∑∑∑∑Okay.
18∑A∑∑∑∑There was two of them incidents, but yes, we                 18∑A∑∑∑∑That's not --
19∑talked about both of them.                                        19∑Q∑∑∑∑So what cuss words would you say in the
20∑Q∑∑∑∑Okay.∑The next thing was he'd say suck his                   20∑workplace?
21∑dick, you stupid motherfucker.∑Now, we talked about               21∑A∑∑∑∑Imean, I've probably said dammit or shit or
22∑all the times that he said that with respect to                   22∑something like that, I'm sure.
23∑pulling down his pants.∑Were there other times that               23∑Q∑∑∑∑Okay.∑But you wouldn't -- you wouldn't cuss
24∑he said suck my dick?                                             24∑in front of women?∑You'd try not to do that?
25∑A∑∑∑∑His famous saying -- he would say it, but it                 25∑A∑∑∑∑Well, yeah, that's -- you have to be
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∑1∑would be more a lot of times, he'd be walking by or               ∑1∑careful.∑I think -- you know, I don't know what my
∑2∑something with Susan and he'd say, you know, come                 ∑2∑title really is.∑I'm supposed to be in management.
∑3∑here and suck my dick, you stupid motherfucker.                   ∑3∑You're supposed to watch what you say.
∑4∑∑∑∑∑And I'm sorry, y'all, I have to use this                      ∑4∑∑∑∑∑You have to be careful in front of truck
∑5∑language.∑My mama would kill me for it.∑I'm sorry.                ∑5∑drivers, even if they're male or female, about what
∑6∑Q∑∑∑∑Well, you use the term motherfucker at work,                 ∑6∑you say because, I mean, I could lose my job a lot
∑7∑don't you?                                                        ∑7∑quicker than going through all of this, what we're
∑8∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                            ∑8∑going.∑I mean, you know, one phone call, I could be
∑9∑BY MS. DOHNER SMITH:                                              ∑9∑gone.
10∑Q∑∑∑∑You do, too.                                                 10∑Q∑∑∑∑So that's external truck drivers.∑What
11∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                            11∑about other WestRock employees?∑Do you swear in
12∑BY MS. DOHNER SMITH:                                              12∑front of them?
13∑Q∑∑∑∑Right?∑If we're going to be honest, you use                  13∑A∑∑∑∑I'm sure I probably have.
14∑the term fucker and motherfucker at work, don't you?              14∑Q∑∑∑∑Do you swear just in front of men or in
15∑A∑∑∑∑Ijust don't want to be disrespectful to                      15∑front of women, too?
16∑women.                                                            16∑A∑∑∑∑There's one woman there that uses some
17∑Q∑∑∑∑That's okay.∑I understand.                                   17∑strong language, a lot worse than I'd ever probably
18∑∑∑∑∑Do you use it on the floor at work?                           18∑use, but that's her normal talk.
19∑A∑∑∑∑I've probably been known to cuss --                          19∑Q∑∑∑∑Yeah, but I'm asking about you.∑Do you use
20∑Q∑∑∑∑Okay.                                                        20∑swear words in front of women as well as men?
21∑A∑∑∑∑-- most time myself.                                         21∑A∑∑∑∑I've probably said dammit or shit or
22∑Q∑∑∑∑Is the F word one of the words you say when                  22∑something in front of a woman before, I'm sure.
23∑you cuss?                                                         23∑Q∑∑∑∑Okay.∑Do you try not to swear in front of
24∑A∑∑∑∑Ikind of go down on myself about doing                       24∑women?
25∑something stupid.                                                 25∑A∑∑∑∑Itry my best not to, yes.


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∑1∑Q∑∑∑∑Why is that?                                                ∑1∑last time he said it, but he probably total did that
∑2∑A∑∑∑∑Well, believe it or not, my mother is                       ∑2∑probably six times, seven times maybe.
∑3∑77 years old, and I've got respect for her.∑And                  ∑3∑Q∑∑∑∑Okay.∑When did he say it the other times?
∑4∑it's just the language -- she does not like bad                  ∑4∑A∑∑∑∑To be absolutely honest, probably maybe just
∑5∑language.∑My brother, we just buried him, he's                   ∑5∑about once a year.
∑6∑younger than me, last year, and it's out of respect              ∑6∑Q∑∑∑∑Okay.∑Did you ever report that to anybody?
∑7∑for -- respect for her.∑Or I probably would use a                ∑7∑A∑∑∑∑Ijust told him that I didn't like that at
∑8∑lot worse language, you know.                                    ∑8∑all.∑That's the only person I reported it to was
∑9∑∑∑∑∑At home, I'm not allowed to cuss because                     ∑9∑him.
10∑you've got the grandkids and they'll pick up                     10∑Q∑∑∑∑Okay.∑So you didn't report it outside of
11∑something quick.                                                 11∑Gallatin?
12∑∑∑∑∑All of my guys would try to watch because                    12∑A∑∑∑∑No, I did not, ma'am.
13∑the tow motor is loud and it travels.∑You just                   13∑Q∑∑∑∑All right.∑Anything else that Tommy Whited
14∑don't want to offend somebody and get in trouble,                14∑did to -- oh, wait.∑We've got smack in the ass.∑We
15∑because I've got some of the best tow motor drivers              15∑had that as well.
16∑there is out there at WestRock.                                  16∑∑∑∑∑When did he smack you in the ass?
17∑Q∑∑∑∑How many times has Tommy told you suck my                   17∑A∑∑∑∑You know, to be absolutely honest, probably
18∑dick, stupid motherfucker, outside of the unzipping              18∑three or four times a year in the past five years,
19∑of the pants incidents we've talked about?                       19∑and I did not report it to -- outside of Gallatin or
20∑A∑∑∑∑Over an eight-year period, I'm going to say                 20∑to Larry either.
21∑probably 40.                                                     21∑Q∑∑∑∑Okay.∑So you didn't report him smacking you
22∑Q∑∑∑∑Okay.∑Did you ever report any of those to                   22∑in the ass to anybody?
23∑anybody?                                                         23∑A∑∑∑∑No.∑No, I did not.
24∑A∑∑∑∑No, I did not.                                              24∑Q∑∑∑∑Okay.
25∑Q∑∑∑∑Okay.                                                       25∑A∑∑∑∑Just people that saw it, you know, just
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∑1∑A∑∑∑∑Most time people were standing there                        ∑1∑laughed, thinks it's funny and stuff.∑You know,
∑2∑listening, but that's just --                                    ∑2∑just like him trying to run over me in his truck and
∑3∑Q∑∑∑∑Did you report to anybody outside of                        ∑3∑hit me in his truck, you know.
∑4∑Gallatin?                                                        ∑4∑Q∑∑∑∑When did he try to run over you with his
∑5∑A∑∑∑∑No, I did not.                                              ∑5∑truck?
∑6∑Q∑∑∑∑The next thing that you had on your list was                ∑6∑A∑∑∑∑In 2015.∑Around out in the shipping office,
∑7∑he would say, you stay over so I can go home and                 ∑7∑dock area, I have to go out there a lot, check on
∑8∑screw your wife or fuck your wife.                               ∑8∑what trailer is here, so on, so on, so on.∑But when
∑9∑A∑∑∑∑Right.                                                      ∑9∑Tommy would be coming from the plant or coming from
10∑Q∑∑∑∑When did that happen?                                       10∑whatever, he'd come around the building, and he
11∑A∑∑∑∑Well, about a month before he left there, he                11∑always turned around and looked down to see who's at
12∑said that in front of the -- inside the shipping                 12∑the dock area and I'd be out there.∑Well, he'd have
13∑office, said that in front of everybody, and it                  13∑a brand-new Dodge truck.∑Well, he took off flying,
14∑really made me angry.                                            14∑and go through the gate entrance and he'd slam on
15∑∑∑∑∑You know, all this stuff had gone on for                     15∑the brakes.
16∑years now, whether who believes me or who doesn't                16∑∑∑∑∑But one time he hit me and he knocked me
17∑believe me, has made me lose a lot of my                         17∑about 35 foot across the parking lot.∑He made my
18∑self-esteem, and everything else, and made me feel               18∑leg get a bruise probably from my hip down below my
19∑like that I'm not a man to my significant other.                 19∑knee and told me to go home.∑Sent me home
20∑And so when he said stuff like that, it really                   20∑immediately for a few days with pay so I wouldn't
21∑bothered me.∑Still does bother me to think about                 21∑tell on him.
22∑it.                                                              22∑∑∑∑∑But he probably tried to run over me at
23∑Q∑∑∑∑So that would have been the summer of 2016                  23∑least 20-something times out in the parking lot,
24∑that he said it?                                                 24∑with everybody -- with Donnie Taylor out there,
25∑A∑∑∑∑It was shortly before he -- that was the                    25∑Tommy Davis, Willie White, Terry Stafford.


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∑1∑Q∑∑∑∑Do you think he was really trying to run you                 ∑1∑home with a big old bruise and stuff.
∑2∑down or was he like just kind of pretending that --               ∑2∑Q∑∑∑∑So he'd come up behind you with a stick and
∑3∑∑∑∑∑∑∑∑(Overlapping speech.)                                      ∑3∑hit you in the knee to pop your knee?
∑4∑A∑∑∑∑Ithink playing.                                              ∑4∑A∑∑∑∑He'd hit me in the head or anything with the
∑5∑Q∑∑∑∑-- he was going to -- playing and then slam                  ∑5∑stick.∑But he was real bad about Charley horsing me
∑6∑on his brakes and --                                              ∑6∑with his knee.∑He's throwed his hard hat at me.
∑7∑A∑∑∑∑Iactually think he was playing, but --                       ∑7∑Q∑∑∑∑So any other -- so you've told me this
∑8∑Q∑∑∑∑But one time he actually did run into you?                   ∑8∑happened like three times in 2013, four to five
∑9∑A∑∑∑∑Yes.∑It -- yes, and it knocked me and                        ∑9∑times in 2014, six times in 2015.∑Any other times?
10∑scratched me all up.                                              10∑A∑∑∑∑Ican't remember about how many in '16.∑As
11∑Q∑∑∑∑When did that happen?                                        11∑years went, on toward the end there, he was getting,
12∑A∑∑∑∑That was 2015-something.                                     12∑I don't know if it's the word, but he was getting
13∑Q∑∑∑∑Do you remember the month?                                   13∑more violent or more -- hurting me a lot more than
14∑A∑∑∑∑It was warm, so I'm going to say somewhere                   14∑what -- whoever wants to say it was playing or
15∑around July or August.                                            15∑whatever, I didn't feel like it.∑It was getting a
16∑Q∑∑∑∑Okay.∑Did you report that to anybody?                        16∑lot worse.
17∑A∑∑∑∑No, ma'am.∑Just -- not outside of Gallatin,                  17∑Q∑∑∑∑So any of these incidents where he punched
18∑nor in.∑I just -- you know, we say -- you know, or                18∑you in the eye or the jaw with his fist or hit you
19∑I say, I think he was playing and this and that and               19∑with sticks or did the Charley horse type thing,
20∑the other, but it still didn't feel good.∑None of                 20∑threw his hard hat at you, did you report any of
21∑this feels good, you know.                                        21∑that to anybody outside of Gallatin?
22∑Q∑∑∑∑Did anybody see him hit you with the truck?                  22∑A∑∑∑∑Not outside of Gallatin.∑Just to the
23∑A∑∑∑∑Donnie Taylor, Tommy Davis, Willie White. I                  23∑management at WestRock here.
24∑don't know if Terry Stafford was out there anyway,                24∑Q∑∑∑∑Okay.∑So which incident did you report and
25∑but he's Tommy's best friend anyway.∑I don't know                 25∑to who?∑We've got three incidents in 2013 where he
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∑1∑if they -- I don't think they was there the day he                ∑1∑hit you with sticks, four to five where he hit you
∑2∑flipped me, but they've been out there the other                  ∑2∑with sticks in 2014, six times where he hit you in
∑3∑times or most of the times that he tried to act like              ∑3∑2015.∑And how many times do you think in 2016?
∑4∑he was going to run me over and I had to jump out of              ∑4∑A∑∑∑∑I'm just going to say a couple in '16,
∑5∑the way or this, that, and the other.∑They was out                ∑5∑because these dates are finally just dwelling in my
∑6∑there.                                                            ∑6∑head where I'm getting confused.
∑7∑Q∑∑∑∑Anything else that Tommy has done to you?                    ∑7∑Q∑∑∑∑Do you want to take a quick break?
∑8∑A∑∑∑∑You know, he's punched me in my eye or in my                 ∑8∑A∑∑∑∑Well, I want to try to -- I know you don't
∑9∑jaw with his fist.                                                ∑9∑feel good, so I want to try to --
10∑Q∑∑∑∑Okay.∑When has he punched you in your eye                    10∑Q∑∑∑∑Don't -- don't worry about me.∑This is my
11∑or jaw?                                                           11∑job.∑I get paid to be here.∑I appreciate your
12∑A∑∑∑∑2015, I'm going to say probably six times.                   12∑concern, though.
13∑Q∑∑∑∑Any other years that he did that?                            13∑∑∑∑∑If you need a break, I would like you to
14∑A∑∑∑∑He was real bad -- 2014, he probably -- he                   14∑take a break.
15∑liked hitting me with sticks.∑He probably did it                  15∑A∑∑∑∑Icould use one for a minute, please.
16∑four or five times.∑2013, probably three.                         16∑∑∑∑∑∑∑∑MS. DOHNER SMITH:∑All right.∑Let's go
17∑Q∑∑∑∑In 2013, three times he hit you with his                     17∑ahead and take a break, then.
18∑fist or with sticks?                                              18∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We are going off the
19∑A∑∑∑∑Sticks.∑He was real big about, too, about                    19∑record.∑The time on the monitor is 2:11 p.m.
20∑if I was up like this, this part of your leg or that              20∑∑∑∑∑∑∑∑(Recess observed.)
21∑part of your leg (indicating), if you take your knee              21∑∑∑∑∑∑∑∑VIDEOGRAPHER:∑We are back on the
22∑and you jar it right there, what we call when we was              22∑record.∑The time on the monitor is 2:23 p.m.
23∑in high school Charley horse.                                     23∑BY MS. DOHNER SMITH:
24∑Q∑∑∑∑Yeah.                                                        24∑Q∑∑∑∑So, we were talking about the punching in
25∑A∑∑∑∑He did that many, many times, and I went                     25∑the eye or the jaw or hitting with sticks.∑You


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∑1∑never reported any of those incidents to anybody                  ∑1∑know, I'm sorry, but I would.∑It just didn't
∑2∑outside of Gallatin; is that correct?                             ∑2∑matter.∑It would be done to his satisfaction.
∑3∑A∑∑∑∑No, I did not.                                               ∑3∑Q∑∑∑∑Did you -- have you witnessed Tommy hit
∑4∑Q∑∑∑∑Did you report any of those to anybody                       ∑4∑or -- the slap in the groin, by that do you mean the
∑5∑inside of Gallatin?                                               ∑5∑backhand to the groin?
∑6∑A∑∑∑∑Ican't honestly say that I went directly to                  ∑6∑A∑∑∑∑Yes, ma'am.
∑7∑Larry to tell him, you know, hey, he punched me in                ∑7∑Q∑∑∑∑Have you witnessed him doing that to Donnie
∑8∑the face.∑I can't honestly say I did.                             ∑8∑Taylor personally?
∑9∑Q∑∑∑∑Okay.∑Is there anything else that Tommy did                  ∑9∑A∑∑∑∑Yes.
10∑to harass you, hurt you in any way?                               10∑Q∑∑∑∑How many times?
11∑A∑∑∑∑He just took all my self-esteem, everything,                 11∑A∑∑∑∑Iprobably witnessed that two times.
12∑you know, took all that away from me.∑But as far as               12∑Q∑∑∑∑Okay.∑When was that?
13∑physically, no, ma'am.                                            13∑A∑∑∑∑Honestly, I'm going to say it was probably
14∑Q∑∑∑∑Well, any other -- any other actions on his                  14∑2014, maybe one time, and 2015, one.
15∑part?                                                             15∑Q∑∑∑∑Okay.
16∑A∑∑∑∑No, ma'am.                                                   16∑A∑∑∑∑Donnie wouldn't put up with it.
17∑Q∑∑∑∑Okay.                                                        17∑Q∑∑∑∑He wouldn't put up with it?
18∑A∑∑∑∑Ishouldn't have said what I said.∑I'm                        18∑A∑∑∑∑No, he would not.∑He would tell him that he
19∑sorry.                                                            19∑would get him -- you know, he would hit him back in
20∑Q∑∑∑∑All right.                                                   20∑his if he did it again.
21∑A∑∑∑∑I've been trying to remember everything I                    21∑Q∑∑∑∑Okay.∑So Donnie would hit Tommy back?
22∑can.                                                              22∑A∑∑∑∑He said if he did him again.
23∑Q∑∑∑∑And I appreciate that.                                       23∑Q∑∑∑∑Okay.∑And then Tommy stopped?
24∑∑∑∑∑Did Tommy do any of these things to any                       24∑A∑∑∑∑Yeah.∑He didn't do it again.∑Jerry
25∑other people?                                                     25∑Harville, I witnessed him backhand Jerry.
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∑1∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                            ∑1∑Q∑∑∑∑Backhand him to the groin?
∑2∑BY MS. DOHNER SMITH:                                              ∑2∑A∑∑∑∑To the groins, yes, ma'am.∑I'm sorry.∑I'm
∑3∑Q∑∑∑∑That you witnessed?                                          ∑3∑going to say three times.
∑4∑A∑∑∑∑Yes.                                                         ∑4∑Q∑∑∑∑When was that?
∑5∑Q∑∑∑∑Okay.                                                        ∑5∑A∑∑∑∑Probably once in 2014, one in '15, one
∑6∑A∑∑∑∑Slapping in the groins.∑I saw him do Donnie                  ∑6∑in '16.
∑7∑Taylor.∑I saw him do Jerry Harville, Terry                        ∑7∑Q∑∑∑∑Okay.∑What did Jerry do?
∑8∑Stafford.∑The cussing and the language and all,                   ∑8∑A∑∑∑∑He said, you keep on, I'm going to pop you
∑9∑everybody I just named and probably hundreds of                   ∑9∑back, or whatever, but, you know, Jerry wasn't going
10∑names I can't even think of.                                      10∑to touch him back.
11∑Q∑∑∑∑Well, cussing and language, is that                          11∑Q∑∑∑∑Did Tommy stop him?
12∑something he cussed both in front of men and women?               12∑A∑∑∑∑Only person I know -- yeah, he didn't do it
13∑A∑∑∑∑Yes, ma'am.                                                  13∑again right then, no.∑You know, he said, yeah, you
14∑Q∑∑∑∑Okay.                                                        14∑touch me, I'll fire you and all that.
15∑A∑∑∑∑He -- sometimes it wasn't as severe.∑He                      15∑∑∑∑∑I saw one person actually retaliate, Mikey
16∑would get angry and he would -- he would cuss,                    16∑Eden, which there's a lot of kinfolk at this
17∑especially if a machine or something wasn't -- he                 17∑facility.∑He slapped Mikey -- Mikey is a little
18∑was real moody.                                                   18∑bitty fellow, too.∑He's probably my age, but he's,
19∑∑∑∑∑If the place was a mess -- a lot of times                     19∑I'm going to say he's 4-foot-11 and 200 pounds.
20∑that's why he would call me and get me down there                 20∑∑∑∑∑Anyway, Tommy slapped him in the groins and
21∑and holler at me for a long time about this, get                  21∑Mikey said something, and when Tommy started to walk
22∑it -- but he knew one thing, no matter what the                   22∑off, Mikey kicked him in his behind.∑And Tommy
23∑problem was, if he told me to get it taken care of,               23∑Whited had his nice clothes on, and I thought Mikey
24∑it didn't matter what, that I would make sure it got              24∑Eden was going to get fired over that.
25∑done.∑I don't care what it did to me.∑I don't                     25∑Q∑∑∑∑Did he get fired?


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∑1∑A∑∑∑∑No, he did not.∑But I don't think that ever                  ∑1∑you've done some of the other employees at the other
∑2∑happened again.∑I don't think Tommy ever popped him               ∑2∑plant, you know.
∑3∑again and I don't think Mikey -- of course, Mikey                 ∑3∑Q∑∑∑∑Did Tommy have some reason not to like you?
∑4∑said, well, you know, if he does me, I'm going to do              ∑4∑A∑∑∑∑Well, Lord no, because there's not a job
∑5∑him back.∑But I think there was an understanding                  ∑5∑there that wouldn't get done if he needed me to do
∑6∑real quick that that -- that Tommy didn't like that.              ∑6∑it.∑He knew this.∑I don't know -- I don't know how
∑7∑You know, he put a big footprint right on his slacks              ∑7∑to explain it, but anything he asked me to do, I
∑8∑or whatever.∑Even though he did it first, he didn't               ∑8∑did.∑Of course, I didn't want to lose my job, but I
∑9∑like that at all.                                                 ∑9∑would bend over backwards, make sure it was done the
10∑Q∑∑∑∑What about Terry Stafford?                                   10∑right way, no matter what it was.
11∑A∑∑∑∑He used to backhand him like this, but Terry                 11∑Q∑∑∑∑Do you think Tommy had some sort of a sexual
12∑Stafford is -- he's strong, country boy, and all                  12∑desire for you?
13∑he'd have to do is threaten to get -- Tommy, I'll                 13∑A∑∑∑∑Itry not to think that he had a sexual
14∑get you in a headlock, or whatever or something, you              14∑desire for me, but I can't answer for him.
15∑do that again, or whatever, and he wouldn't bother                15∑Q∑∑∑∑Do you think he --
16∑Terry Stafford no more.                                           16∑A∑∑∑∑Ilike women.∑I don't like men.
17∑Q∑∑∑∑So Terry said, if you do that again, I'm                     17∑Q∑∑∑∑Did -- do you think he had some animus
18∑going to do something --                                          18∑against you because you're a man in the workplace?
19∑∑∑∑∑∑∑∑(Overlapping speech.)                                      19∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.∑Calls
20∑A∑∑∑∑Get you in a headlock, something like that.                  20∑for a legal conclusion.
21∑Q∑∑∑∑And then Tommy didn't do it again?                           21∑BY MS. DOHNER SMITH:
22∑A∑∑∑∑No, not Terry.∑Terry Stafford is a country                   22∑Q∑∑∑∑Did he have some hostility toward you
23∑boy and he's strong.∑He could probably take a bar                 23∑because you're a man in the workplace?
24∑and bend it.∑He's a strong man.                                   24∑A∑∑∑∑Ihonestly can't -- I don't know how to
25∑Q∑∑∑∑Okay.∑Anybody else that you've seen Tommy                    25∑answer the question.∑Tell you the truth, I don't
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∑1∑do any of this to?                                                ∑1∑know how to answer it.
∑2∑A∑∑∑∑Ican't 100 percent say anybody else and be                   ∑2∑Q∑∑∑∑Okay.
∑3∑100 percent positive about it right now, ma'am.                   ∑3∑A∑∑∑∑I'm not being mean.∑I'm just saying, I
∑4∑Q∑∑∑∑Okay.∑Why do you think Tommy did these                       ∑4∑don't understand why he did it and still don't, and
∑5∑things or kept doing these things to you, if he did               ∑5∑it's bothered me for years, and that's why I see
∑6∑them to these other guys and they said stop and --                ∑6∑counseling now.∑I'm trying to cope with life.
∑7∑or I'm going to do this --                                        ∑7∑Q∑∑∑∑Do you think he did it because he didn't
∑8∑A∑∑∑∑They always told me that he liked me.                        ∑8∑think you were manly enough?
∑9∑Q∑∑∑∑Who told you that he liked you?                              ∑9∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
10∑A∑∑∑∑All these other guys that -- Terry Stafford,                 10∑∑∑∑∑∑∑∑THE WITNESS:∑I don't know.
11∑all the older people that's been there for years,                 11∑BY MS. DOHNER SMITH:
12∑said that Tommy did things like that to me because                12∑Q∑∑∑∑Okay.
13∑he liked me.∑And I'm like, well, I don't want to be               13∑A∑∑∑∑Idon't know.∑I would not hit him back.
14∑liked.∑I'd rather be disliked.                                    14∑But, of course, you know, he was general manager,
15∑Q∑∑∑∑What do you mean, liked?∑Like a romantic                     15∑you know.∑I wanted my job.∑Of course I'm not going
16∑relationship or sexual relationship, or just liked                16∑to.
17∑you as a person?                                                  17∑Q∑∑∑∑Did Tommy ever say or do anything that led
18∑A∑∑∑∑Liked me as a person.                                        18∑you to believe that he didn't think men should be
19∑Q∑∑∑∑Okay.                                                        19∑working at WestRock?
20∑A∑∑∑∑As far as coming out of Tommy Whited's                       20∑A∑∑∑∑No.∑But he made comments about there's not
21∑mouth, I didn't ever hear that.∑But that's -- you                 21∑enough women.
22∑know, but I made the statement before, you know, if               22∑Q∑∑∑∑Tell me about that.
23∑that's -- you know, if you're going to do things to               23∑A∑∑∑∑When the tobacco contract went away that
24∑me like that so we'll have a friendship or whatever,              24∑second time and we all knowed that he was the main
25∑I'd rather you not speak to me for 20 years like                  25∑reason we lost it and it wasn't ever going to come


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∑1∑back, he said, well, now we're never going to have                ∑1∑anything back in myself.
∑2∑any fresh pussy or anything like that in here.∑Of                 ∑2∑Q∑∑∑∑Do you think that he did these things
∑3∑course, he used to try to --                                      ∑3∑because you're a man?
∑4∑Q∑∑∑∑So, by fresh pussy, he was referring to                      ∑4∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑5∑female -- new women in the workplace?                             ∑5∑∑∑∑∑∑∑∑THE WITNESS:∑I don't know how to
∑6∑A∑∑∑∑New women, yes.∑Just like Susan Hart.∑Her                    ∑6∑answer that.∑I really don't.∑I don't know how to
∑7∑breasts were real big, and he used to say, watch                  ∑7∑answer what he thought.∑I don't know why he did it.
∑8∑this, Kuli.∑And he'd holler at her and try to get                 ∑8∑I pray to the good Lord every day -- I'd hate to see
∑9∑her to run across the floor.∑Of course, they were                 ∑9∑him do anybody, but if nothing else happens with
10∑real big, of course, and they'd bounce.∑I wouldn't                10∑this, he will not be in there doing another male or
11∑look, wouldn't do anything, because I didn't want to              11∑female, you know, hitting anybody else, no matter
12∑get in trouble because I just knew that was a setup               12∑what.
13∑or whatever.                                                      13∑BY MS. DOHNER SMITH:
14∑∑∑∑∑But he did like women, and he liked all                       14∑Q∑∑∑∑Did he mistreat women in any way?∑You've
15∑women, young.∑A lot of women got raises there; a                  15∑already told me he'd make Susan Hart run so that her
16∑lot of men didn't.∑Don't know -- I'm not                          16∑boobs would bounce --
17∑insinuating anything they did to get them or                      17∑∑∑∑∑∑∑∑(Overlapping speech.)
18∑anything.∑I'm just saying that the women could get                18∑A∑∑∑∑He'd do it on purpose so he could get
19∑raises before men could.                                          19∑tickled.∑But no, he treated females very special.
20∑Q∑∑∑∑Well, what is it about you personally that                   20∑Q∑∑∑∑What do you mean by special?
21∑led Tommy to harass you?                                          21∑A∑∑∑∑Well, in the summertime, some of them --
22∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                            22∑he'd let some of them, before they got strict with
23∑BY MS. DOHNER SMITH:                                              23∑some dress code, but wear a white tank top and have
24∑Q∑∑∑∑What do you think it is?                                     24∑top half of their body be nice looking, and he would
25∑A∑∑∑∑He knows he terrified me.∑This is hearsay,                   25∑enjoy things like that.∑He would stay over in that
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∑1∑but he would tell people like Terry Stafford or                   ∑1∑vicinity for long periods of time.
∑2∑somebody because they told -- like I said, it's                   ∑2∑Q∑∑∑∑What about touching women?∑Did he ever rub
∑3∑hearsay, but they told me.∑They said, watch me tear               ∑3∑their breasts or their bottom sides, anything like
∑4∑Kuli all up.∑Watch this.∑And he'd start screaming                 ∑4∑that?
∑5∑at me and make me nervous and all this kind of                    ∑5∑A∑∑∑∑Ican't answer that I saw that directly. I
∑6∑stuff.∑He thought it was a game.∑So I don't know                  ∑6∑can't.
∑7∑if that's the way this started, as a game, see how                ∑7∑Q∑∑∑∑Okay.
∑8∑upset he could get me, you know, where maybe I'd                  ∑8∑A∑∑∑∑You know, stuff like that was all just
∑9∑stroke out and die in there, what was coming next.                ∑9∑hearsay.∑And his famous saying was, if you don't
10∑Q∑∑∑∑So you think this started because he could                   10∑have a freaking picture, you better shut up.∑You
11∑actually get you upset and get you worked up?                     11∑know, and that's -- that was his saying.∑And of
12∑A∑∑∑∑Well, I know he brought that up to Terry a                   12∑course, I never did want to get in confrontation.
13∑lot, saying that, you know, watch this, watch me get              13∑You know, I was going through enough.∑I wasn't
14∑him upset here, watch this, watch this.∑And Kuli,                 14∑going to bring up nothing.
15∑get your ass over here.∑You know, why is this like                15∑Q∑∑∑∑Do you think there was something about your
16∑this and why is this like this?∑And I'd say, well,                16∑personality that made him kind of pick on you as
17∑I'll get it taken care of right now.∑And he knowed                17∑opposed to everybody else?
18∑I would.∑But they'd just sit over there and laugh                 18∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
19∑about it and think it was funny.                                  19∑∑∑∑∑∑∑∑THE WITNESS:∑Ma'am, I don't know.∑You
20∑∑∑∑∑But I mean, it didn't do nothing to me but                    20∑know, I used to think maybe it was because I was
21∑ruin my life, what I think about myself and other                 21∑Polish or something, but I don't have a clue.
22∑things.∑I mean, you know, no matter what happens in               22∑BY MS. DOHNER SMITH:
23∑any of this, I know what really happened through all              23∑Q∑∑∑∑Okay.∑So you think he doesn't like Polish
24∑of it, and I know how I feel, and it's going to be                24∑people?
25∑hard to ever get my self-esteem and ever get                      25∑A∑∑∑∑I'm just saying, I used to think maybe that


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